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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                      Plaintiffs,

       v.                                          Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                      Defendants.


                                     DECLARATION
  Pursuant to 28 U.S.C. § 1746, I, Mark Paoletta, declare as follows:
I. Comprehensive Review of Agency’s Functions By New Leadership
  1. Since February, the Bureau’s new leadership has been undertaking a review of the
     Bureau’s activities and staffing. Over the course of this review, leadership has
     determined to take the Bureau in a new direction that would perform statutory
     duties, better align with Administration policy, and right-size the Bureau.
     Leadership has discovered many instances in which the Bureau’s activities have
     pushed well beyond the limits of the law. For example, the Bureau has conducted
     many enforcement and supervision actions on the basis of mere statistical
     disparities without the slightest evidence of intentional discrimination. The Bureau
     has also engaged in intrusive and wasteful fishing expeditions against depository
     institutions and, increasingly, non-depository institutions. Additionally, the Bureau
     has pushed into new areas beyond its jurisdiction such as peer-to-peer lending,
     rent-to-own, and discrimination as unfair practice. The Bureau engaged in
     supervisions with other federal agencies and supervision outside of the Bureau’s
     authority, and also duplicative enforcement with State law enforcement and
     regulatory authorities.
  2. Bureau leadership has directed the closure of many supervisions and
     examinations, and has also directed several enforcement actions to proceed,
     especially in the area of service member fraud.
  3. For several weeks, the Bureau’s leadership has been developing new enforcement
     and supervision priorities seeking to align the Bureau’s practices with a much
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   more limited vision for enforcement and supervision activities, focused on
   protecting service members and veterans, and addressing actual tangible consumer
   harm and intentional discrimination. This review resulted in the Bureau’s 2025
   Supervision and Enforcement Priorities, released on April 16, 2025. These
   priorities capture the more restrained role described above.
4. Leadership has also been assessing how the agency can fulfill its statutory duties
   as a smaller, more efficient operation. In making this assessment, leadership
   discovered vast waste in the agency’s size. Leadership recognized that all
   divisions, but especially enforcement, supervision, consumer response, operations,
   research, markets, and regulations, and the Director’s office contained far more
   employees than are necessary to fulfill the Bureau’s statutory duties and
   discretionary functions.




II. Particularized Assessment
5. The D.C. Circuit’s stay of the district court’s opinion authorized the Bureau to
   issue a “notice of reduction in force to employees whom defendants have
   determined, after a particularized assessment, to be unnecessary to the
   performance of defendants’ statutory duties.”
6. I, along with two other CFPB attorneys, conducted a particularized assessment to
   determine which employees are unnecessary for the Bureau to perform its
   statutory duties.
7. As part of this assessment, I and the other attorneys went line by line through each
   competitive area to determine how many employees were necessary in each area.
8. The Consumer Response Education Division had 149 employees, further broken
   into Consumer Response, at 128, Consumer Response Education, at 8, and
   Financial Education, at 13. Considering that the Bureau retains dozens of
   contractors to field consumer complaints, I determined that this Division could be
   cut substantially, while still performing the Bureau’s statutory duty “to facilitate
   the centralized collection of, monitoring of, and response to consumer complaints
   regarding consumer financial products or services.” 12 U.S.C. § 5493. I
   determined that the escalated case management team could continue to fulfill its
   duties at a much lower level of employees. 12 U.S.C. § 5493(b)(3)(A). The Office
   of Financial Education is separately required by statute. § 5493(d). After
   consulting with agency operations personnel, I determined that the statutory
   functions of the Consumer Response Education Division could be performed with
   16 in Consumer Response, 2 in Consumer Response Education, and 2 in Financial
   Education.

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9. CFPB Centralized Services had 5 employees. This is not a statutorily required
    function and I was informed by agency personnel that it is unnecessary to the
    agency’s functions. I therefore determined that 0 employees were necessary for
    this division.
10. The Director’s Office contained 86 employees. Within the Director’s Office, the
    Office of Minority and Women’s Inclusion, § 5452, Office of Fair Lending and
    Equal Opportunity, § 5493 (which covers TILA and HDMA), and the Deputy
    Director, § 5491(b), are required by statute. I determined that the statutory
    functions of each of these offices could be performed by 1 person. Although not
    required by statute, I also retained 1 employee in the Office of Legislative Affairs
    and 1 employee in the Office of Civil Rights. I therefore determined that 5
    employees would be sufficient for the Director’s Office.
11. The Enforcement Division contained 248 employees. The Bureau is tasked by
    statute with performing some level of enforcement. In line with the Bureau’s
    revised 2025 Supervision and Enforcement priorities, I determined that the
    Enforcement Division should be significantly reduced in line with the Bureau’s
    new policy of focusing on tangible consumer harm and deferring to State
    enforcement actions. I therefore determined that 50 employees would be sufficient
    to allow the Bureau to perform its statutory enforcement functions.
12. The Supervision Division contained 487 employees. The Bureau is tasked by
    statute with performing some level of supervisory activity. In line with the
    Bureau’s revised 2025 Supervision and Enforcement priorities, I determined that
    both the quantity and scope of supervision matters would be significantly reduced.
    I therefore determined that 50 employees would be sufficient to allow the Bureau
    to perform its statutory supervision functions. Bureau leadership also determined
    to reorganize Supervision to concentrate all personnel in the Southeastern region
    due to proximity to headquarters and relatively lower cost of living.
13. The External Affairs Division contained 41 employees. The only statutorily
    required component is the Community Affairs Unit. § 5493(b)(2). I determined
    that the statutory duties of this unit could be performed by 1 person. I also
    determined to retain 1 employee to engage in private sector engagement.
14. The Legal Division contained 87 employees. The Division is not required by
    statute. I determined that 27 employees—4 in General Law and Ethics, 8 in Law
    and Policy, 0 in the front office, 14 in litigation, and 1 in oversight—were
    sufficient to perform support functions for the Bureau.
15. The Operations Division contained 323 employees. It is not required by statute. In
    consultation with Bureau personnel, I determined that 30 employees were
    sufficient—5 in Administrative Operations, 0 in the CIO, 5 in Finance and
    Procurement, 5 in Human Capital, 1 in the front office, and 14 in Technology and
    Innovation—were sufficient to perform support functions for the Bureau.

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       Operations also ensures compliance with legal requirements like the Rehabilitation
       Act and Americans with Disabilities Act. I also determined these personnel levels
       to be sufficient for the preservation of data.
   16. The Research Monitoring and Regulations Division consisted of 230 employees.
       Within RMR, the Office of Service Members Affairs, § 5493(e), Office of
       Financial Protection for Older Americans, § 5493(g), and Office of the Private
       Education Loan Ombudsman, § 5535, are statutorily required. I determined that
       the statutory duties of each could be performed by 1 person. The Research Unit is
       also required by statute. § 5493(b)(1). I determined that 3 employees are sufficient
       to perform the statutory duties of the Research Unit. Monitoring is also required
       by statute. § 5512(c). I determined that 4 employees were sufficient to perform
       this statutory duty. I also determined that 10 employees for Regulations and 2 for
       the front office would be sufficient to perform these non-statutorily required
       functions. I thus determined that 22 employees would be sufficient for the RMR
       Division.
   17. The Ombudsman’s Office contained 4 employees. This position is required by
       statute. I determined that 1 employee could fulfill the statutory duties.
   18. The Office of the Director’s Financial Analysts contained 29 employees. This
       office is not required by statute. I therefore determined that 0 employees were
       sufficient.
III. Conclusions of Particularized Assessment Review
   19. As the above indicates, the Bureau could have reduced beyond the levels it
       ultimately decided upon while still performing its statutory duties. The Bureau
       examined each and every statutory duty and determined the appropriate level of
       employees needed for each task. Bureau leadership determined that each statutory
       duty could be performed with significantly less personnel through a line-by-line
       assessment of each office, division, unit, subunit (some subunits are 1 person).
   20. Bureau leadership determined that the level of employees retained were sufficient
       to perform the Bureau’s statutory duties and the discretionary duties that
       leadership has determined to pursue.
   21. An approximately 200 person agency allows the Bureau to fulfill its statutory
       duties and better aligns with the new leadership’s priorities and management
       philosophy.
   22. The employees who received RIF notices are still CFPB employees for 60 days.
       Leadership will continuously assess the Bureau’s workforce needs and assess and
       adapt and make appropriate changes to ensure compliance with statutory duties
       and account for changing circumstances.
   23. Attached are true and correct copies of the following documents:


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       -   A copy of the Consumer Financial Protection Bureau 2025 Supervision and
           Enforcement Priorities Memorandum, dated April 16, 2025, which constitutes
           all letters, memoranda, or emails sent to CFPB staff from me and/or from
           Acting Director Russell Vought this week; a representative sample of a
           reduction in force notice that was issued on April 17, 2025, including
           attachments; a list of job titles of employees involved in the reduction in force;
           and a copy of a spreadsheet of Bureau divisions, offices, units, and
           subcomponents. Pursuant to the Court’s Minute Order, Defendants are filing
           the list of employees involved and their job titles under seal as well as
           submitting that document by e-mail to Ms. Rodriguez-Feleke.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.




       Mark R. Paoletta
       Chief Legal Officer




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1700 G Street NW, Washington, D.C. 20552




                                                                                 April 16, 2025

   TO           CFPB Staff

   FROM         Mark R. Paoletta
                Chief Legal Officer

   SUBJECT      2025 SUPERVISION AND ENFORCEMENT PRIORITIES


This document sets out the Bureau’s supervision and enforcement priorities. The Bureau will
focus its enforcement and supervision resources on pressing threats to consumers, particularly
service members and their families, and veterans. To focus on tangible harms to consumers, the
Bureau will shift resources away from enforcement and supervision that can be done by the
States. All prior enforcement and supervision priority documents are hereby rescinded.
   1. To avoid the ever-increasing number of supervisory exams, which are multiplying the
      cost of running businesses and raising consumer prices, Supervision shall decrease the
      overall number of “events” by 50%. The focus should be on conciliation, correction, and
      remediation of harms subject to consumers’ complaints. Supervision should focus on
      collaborative efforts with the supervised entities to resolve problems so that there are
      measurable benefits to consumers.
   2. The Bureau’s focus will shift back to depository institutions, as opposed to non-
      depository institutions. In 2012, 70% of the Bureau’s supervision focused on banks and
      depository institutions and 30% on nonbanks. Now that proportion has completely
      flipped, with over 60% on nonbanks and less than 40% on banks and depository
      institutions. The Bureau must seek to return to the 2012 proportion and focus on the
      largest banks and depository institutions.
   3. The Bureau will focus on actual fraud against consumers, where there are identifiable
      victims with material and measurable consumer damages as opposed to matters based on
      the Bureau’s perception that consumers made “wrong” choices. The areas of priorities
      are:
      a. Mortgages (getting the highest priority).




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        b.  FCRA/Reg V data furnishing violations.
        c.  FDCPA/Reg F relating to consumer contracts/debts.
        d.  Various fraudulent overcharges, fees, etc.
        e.  Inadequate controls to protect consumer information resulting in actual loss to
            consumers.
  4.    The Bureau will focus on redressing tangible harm by getting money back directly to
        consumers, rather than imposing penalties on companies in order to simply fill the
        Bureau’s penalty fund.
  5.    The Bureau will focus on providing redress to service members and their families, and
        veterans.
  6.    The Bureau will respect Federalism:
        a. The Bureau will deprioritize participation in multi-state exams unless required by
            statute (rather than merely permitted).
        b. The Bureau will deprioritize supervision where States have and exercise ample
            regulatory and supervisory authority, unless required by statute (rather than merely
            permitted).
        c. The Bureau will minimize duplicative enforcement, where State regulators or law
            enforcement authorities are currently engaged in or have concluded an investigation
            into the same matter.
  7.    The Bureau will respect other federal agencies’ regulatory ambit:
        a. The Bureau will eliminate duplicative supervision or supervision outside of the
            Bureau’s authority (e.g., no supervision of M&A, just because regulated entities are
            involved, or attempt to insert itself into bankruptcy supervision).
        b. To the extent feasible, the Bureau will coordinate exams’ timing with other/primary
            federal regulators.
        c. The Bureau will minimize duplicative enforcement, where another federal regulator is
            currently engaged in or has concluded enforcement.
  8.    The Bureau will not pursue supervision under novel legal theories, including of the
        Bureau’s authority. It will focus on areas that are clearly within its statutory authority.
  9.    The Bureau will not engage in or facilitate unconstitutional racial classification or
        discrimination in its enforcement of fair lending law:
        a. The Bureau will not engage in redlining or bias assessment supervisions or
            enforcement based solely on statistical evidence and/or stray remarks that may be
            susceptible to adverse inferences.
        b. The Bureau will pursue only matters with proven actual intentional racial
            discrimination and actual identified victims. Such matters shall be brought to the
            leadership’s attention and maximum penalties will be sought.




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  10. The Bureau will deprioritize the following:
      a. Loans or other initiatives for “justice involved” individuals (criminals).
      b. Medical debt.
      c. Peer-to-peer platforms and lending.
      d. Student loans.
      e. Remittances.
      f. Consumer data.
      g. Digital payments.
  11. The Bureau’s primary consumer enforcement tools are its disclosure statutes. The Bureau
      shall not engage in attempts to create price controls.




consumerfinance.gov                                                                        3
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MEMORANDUM FOR:

FROM:                         Russell T. Vought
                              Acting Director of Consumer Financial Protection Bureau

DATE:                         April 17, 2025

SUBJECT:                      Specific Notice of Reduction in Force

I regret to inform you that you are affected by a reduction in force (RIF) action. This RIF action
is necessary to restructure the Bureau’s operations to better reflect the agency’s priorities and
mission.

This is your specific notice of RIF. In accordance with RIF procedures specified in Title 5, Code
of Federal Regulations, Part 351, you are being released from your competitive level because
your position is being eliminated. Consequently, you will be separated from Federal service
effective June 16, 2025. In the event you are qualified and have assignment rights to a position
that becomes available during the notice period, you will be informed via a specific, subsequent
RIF notice. Should the circumstances of the RIF otherwise change, this notice may be
withdrawn.

Please be advised that you will retain access to work systems, including email and internal
platforms until 6:00 PM Eastern Time, on April 18, 2025. After that time system access will be
discontinued, and you will be placed in an administrative leave status through your official
separation date as outlined above.

It is recommended that you download a copy of your eOPF and performance records and send
only personnel related documents to your personal email address. Employees are strictly
prohibited from sending any Bureau work related documents, emails, information or data to
their personal email address. Employees are only authorized to email personal records
outside of the Bureau. Employees who send Bureau work related documents externally will be
subject to disciplinary action up to and including removal from federal service.

Also, please ensure that your personal information is updated in HRConnect including your
personal email address, personal phone number and home address. This information will be
important as we continue to communicate with your during the RIF period.

Retention Standing

This action is being taken under the civil service RIF regulations and procedures. CFPB retains
information used in connection with this action, including retention registers which list
employees in retention standing order by civil service tenure group and subgroup, veterans’
preference, performance ratings, and length of Federal service.

Competitive Area: SUPERVISION MIDWEST REGION
Type of Service: Competitive-Career
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Work Schedule: Full-Time
Position: Examiner, CN-60, Series 0570
Competitive Level: A010
Tenure Group and Subgroup: Tenure Group 1
Veterans’ Preference: None
Last Three Performance Ratings:

        Period Ending 9/30/2024: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program
        Period Ending 9/30/2023: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program
        Period Ending 9/30/2022: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program

Additional Years of Credit Based on Performance Ratings: 20

Adjusted RIF Service Computation Date (SCD):

NOTE: The adjusted RIF SCD includes all creditable military and civilian service and is
adjusted with additional credit (up to a maximum of 20 years) for the performance ratings.

Please contact the Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov immediately if you believe any of the above information is
incorrect. The Bureau is committed to correcting any incorrect employee information.

You may be eligible for a severance pay. For eligibility, please visit OPM's Severance Pay Fact
Sheet.

RIF Package

Each employee impacted by RIF has access to documents that outline applicable benefits for
which you may be eligible or entitled as appropriate. To access these documents, you may make
an appointment with the Bureau of Fiscal Service (BFS) to obtain paper copies of the documents.
You may make an appointment by contacting BFS at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov. In addition, the websites to certain relevant external benefits
provided by other entities are found immediately below.

For training benefits under the Workforce Improvement Act of 1998, please visit
www.careeronestop.org.

For unemployment compensation benefits, please refer to the Department of Labor website at
www.dol.gov.

For general transition assistance information, please refer to the OPM Employee’s Guide to
Career Transition or contact OHC at CFPB_OHC_General@cfpb.gov.
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Appeal and Grievance Rights

U.S. Merit Systems Protection Board (MSPB)
If you believe your retention rights have not been applied correctly or have been violated, you
may appeal this action to the MSPB. Your appeal must be in writing and may be filed any time
after the effective date of the action being appealed until no later than 30 calendar days after the
effective date. Failure to file an appeal within the time limit may result in dismissal of the appeal
as untimely filed. More information on filing appeals is included in your RIF package. You may
also access the MSPB website at www.mspb.gov for additional and further detailed information
on the appeal process.

Equal Employment Opportunity (EEO)

If you believe this termination is being taken in whole or in part because of discrimination based
on race, color, religion, sex, national origin, disability, age, genetic information, pregnancy
and/or reprisal for prior EEO activity, you may file a discrimination complaint with the Agency’s
Office of Civil Rights. To initiate the formal discrimination complaint process, you must first
contact an EEO Counselor within forty-five (45) calendar days of the employment action or
event you believe is discriminatory, harassing, or retaliatory. You may contact the Office of Civil
Rights at CFPB_EEO@cfpb.gov or (202) 435-9EEO, 1-855-233-0362 or 202-435-9742 (TTY).

Office of Special Counsel

If you believe this action is being taken in retaliation for your making protected whistleblowing
disclosures, you may also seek corrective action from the U.S. Office of Special Counsel (OSC).
If you do so, your appeal may be limited to whether the Agency took one or more covered
personnel actions against you in retaliation for making protected whistleblowing disclosures, and
you will not be able to challenge the decision on other bases in that action. To seek corrective
action from the OSC, you may submit your complaint online. More information on or about
filing a complaint with the OSC may be found at https://osc.gov/Pages/File-Complaint.aspx. As
an alternative, you may communicate in writing to the following address:

       Complaints Examining Unit
       U.S. Office of Special Counsel
       1730 M Street, N.W., Suite 218
       Washington, DC 20036-4505

Conclusion

This action is being taken in accordance with the applicable civil service RIF regulations.
Included in your RIF package is a copy of the Office of Personnel Management (OPM) retention
regulations, 5 C.F.R. Part 351. Further and detailed information about the RIF regulations may
also be accessed on OPM website, Reductions in Force. You may make an appointment to
review and obtain a copy of the RIF regulations and/or records pertaining to you by contacting
the Bureau of Fiscal Service.
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The Employee Assistance Program (EAP) is available free to you and in most cases your
immediate family. EAP counselors are available 24 hours a day, 365 days per year at 1-800-222-
0364 (TTY 1-888-262-7848) or http://www.foh4you.com/.

Because you are being separated through a RIF action, you are eligible for career
transition and placement assistance. Specifically, you are eligible for the Bureau
Reemployment Priority List (RPL), Career Transition Assistance Program (CTAP), and
Interagency Career Transition Assistance Program (ICTAP). Your RIF package includes
further information on these programs.

Please be advised that an early resignation may affect your eligibility for placement
assistance and your appeal rights. It may also impact your ability to qualify for
unemployment compensation and training benefits provided under WIA. You are
encouraged to contact your State’s Department of Labor and Employment for any
questions regarding unemployment compensation. You are also encouraged to contact the
Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov to determine how an early resignation may affect your
benefits.

This RIF action does not reflect directly on your service, performance, or conduct. It is being
taken solely for the reasons stated above. Leadership at the Bureau of Consumer Financial
Protection are appreciative of your service.

Attachments (7)
1. MSPB Appeal Information
2. OPM Retention Regulations
3. Severance Pay Estimate
4. Unemployment Insurance
5. State Workforce Programs
6. Authorization for Release of Employment Information
7. CTAP, ICTAP and Reemployment Priority List (RPL) Program Information
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                    U.S. Merit Systems Protection Board
                                Information Sheet No. 8
                                      e-Appeals



Purpose

      The purpose of this information sheet is to provide general guidance and
      background information. It does not represent an official statement approved by
      the Board itself, and is not intended to provide legal counsel or to be cited as legal
      authority. Instead, it is intended only to help the public become familiar with the
      MSPB and its procedures. In all instances, however, the Board’s regulations and
      current case law control with respect to the matters discussed here.
What is e-Appeal?

      E-Appeal is a system which allows participants in Board proceedings to file and
      receive some or all of their pleadings to the Board electronically through the
      internet.
What type of pleadings can be filed or received through e-Appeal?

      Virtually every written submission that a party or representative may file can be
      sent through e-Appeal including submissions that set out claims, allegations,
      arguments, or evidence, motions, legal briefs, petitions, responses, and
      attachments. Exceptions to this rule are set forth in 5 C.F.R. § 1201.14(c):
      requests to hear a case as a class action, service of subpoenas, filing a pleading
      with the Special Panel (after a disagreement between MSPB and EEOC), filing a
      pleading that contains Sensitive Security Information or classified information,
      and filing a request to participate as an amicus curiae or filing an amicus brief.
How does e-Appeal work?

      To start, a party or representative must register with the Board as an e-filer by
      following the simple instructions at the Board’s e-Appeal website (https://e-
      appeal.mspb.gov/). After that, everything is done through the website. To file a
      document, you go to the Board’s website and upload an electronic document or
      enter the text of your pleading. The website accepts documents in all popular
      electronic formats. The e-Appeal system will then send an e-mail message to all
      parties and their representatives who are registered as e-filers, with a link to the
      Repository at e-Appeal Online, where they can view and download the documents.
      At the Repository, you will also find an electronic “Docket Sheet” listing all of the
      documents issued by the Board to the parties, as well as all pleadings filed by the
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       parties, including those that are not available for viewing and downloading
       electronically. This will assure that you know what information is before the
       administrative judge when your appeal is decided.
Do I serve documents by e-mail?

       No. You may not use e-mail to serve pleadings. You just go to the Board's e-
       Appeal website to upload an electronic file or enter the text of your pleading
       online. The Board assures service of all documents on registered e-filers as
       explained in the response immediately above. The Board will not disclose an e-
       filer’s e-mail address to the opposing party or to third parties.
If I register, must I file everything electronically?

       No. Although registration as an e-filer permits you to file electronically, you may
       file any pleading by non-electronic means, which include regular mail, fax, and
       personal or commercial delivery. Regardless of the means of filing a particular
       pleading as explained immediately above, the e filer will be allowed to submit
       supporting documentation as attachments, in both electronic and paper form. You
       can also withdraw from e-filing at any time. Also, if you are represented, you and
       your representative need not both be e-filers.
How hard is it to use e-Appeal?

       E-Appeal is easy to use. If you use the Internet to make airline reservations or to
       make purchases, you will not have much trouble learning to use e-Appeal.
What if I have other questions?

       Just go to the Board's e-Appeal website (https://e-appeal.mspb.gov/) for step-by-
       step help in getting started, a detailed FAQ (Frequently Asked Questions) section,
       and lots of other helpful information and links.
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OPM.gov / Policy / Workforce Restructuring / Reductions in Force



REDUCTIONS IN FORCE
OVERVIEW
The U.S. Office of Personnel Management develops policy and provides guidance to Federal agencies regarding
Reduction in Force (RIF). This page serves as a portal to assist you in locating pertinent information and
content related to RIF in the Federal Government.

When an agency must abolish positions, the RIF regulations determine whether an employee keeps his or her
present position, or whether the employee has a right to a different position. The regulatory requirements
governing reduction in force are contained in Title 5, Code of Federal Regulations, Part 351. Federal agencies
must follow the procedures contained in the Code of Federal Regulations when conducting a RIF. The law
provides that OPM's RIF regulations must give effect to four factors in releasing employees:

   1. tenure of employment (e.g., type of appointment);
   2. veterans' preference;
   3. length of service; and
   4. performance ratings.

An agency is required to use the RIF procedures when an employee is faced with separation or downgrading for
a reason such as reorganization, lack of work, shortage of funds, insufficient personnel ceiling, or the exercise of
certain reemployment or restoration rights. A furlough of more than 30 calendar days, or of more than 22
discontinuous work days, is also a RIF action. (A furlough of 30 or fewer calendar days, or of 22 or fewer
discontinuous work days, is an adverse action.)

This site provides general and detailed information and guidance on RIF procedures.

Click the Tabs for general information about:




Summary of Reduction in Force
This summary covers the procedures in OPM's reduction in force regulations.




The Employee Guide to Reduction in Force
Benefits
The information presented in this guide is intended to provide an overview of benefits and entitlements if you
are affected by RIF. The information is general in nature and cannot cover every situation. It may not be
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applicable to every Federal employee. If you need more specific information, please contact your servicing
human resources office.




Summary of Transfer of Function
A transfer of function takes place when a function ceases in one competitive area, and moves to one or more
other competitive areas that do not perform the function at the time of transfer. This summary covers the rights
of non-temporary employees who have the right to move with their work to another organization if the
alternative is separation or downgrading by RIF.




Workforce Reshaping Operations Handbook and
Appendices
The Workforce Reshaping Operations Handbook(PDF file) with Appendices(PDF file) assists Federal agencies
that are reshaping by identifying mandatory procedures that agencies must follow and by suggesting related
options that may reduce the likelihood of involuntary separations.

SUMMARY OF REDUCTION IN FORCE UNDER
OPM'S REGULATIONS

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Learning About the RIF Regulations
One of the most difficult situations in any worker's life is being laid off.

In the Federal Government, layoffs are called reduction in force (RIF) actions. When an agency must abolish
positions, the RIF regulations determine whether an employee keeps his or her present position, or whether the
employee has a right to a different position.

This summary discusses the procedures in the RIF regulations. With this summary, employees, managers,
collective bargaining representatives, and others will have an overview of both the agency's and its employees'
rights in a restructuring situation.

The appropriate human resource office in the agency can provide additional information on specific questions
relating to RIF policies, options, and entitlements.




Legal Basis for the RIF Regulations
The RIF regulations are derived from section 12 of the Veterans' Preference Act of 1944 and other statutes.
These laws are codified in sections 3501 through 3503 of title 5, United States Code (5 U.S.C. 3501-3503). OPM
implements these statutory requirements through regulations published in part 351 of title 5, Code of Federal
Regulations (5 C.F.R. part 351).

The law provides that the RIF regulations must give effect to four retention factors:

    1. Tenure of employment (i.e., type of appointment);
    2. Veterans' preference;
    3. Total creditable Federal civilian and uniformed service; and
    4. Performance ratings.

This summary will cover each factor in more detail.




The Agency's Right to Make RIF Decisions
Each agency has the right to decide what positions are abolished, whether a RIF is necessary, and when the RIF
will take place. Once the agency makes these decisions, the retention regulations then determine which
employee is actually reached for a RIF action.
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Actions Covered by the RIF Regulations
An agency must use the RIF regulations before separating or demoting an employee because of an
organizational reason such as reorganization, including lack of work, shortage of funds, insufficient personnel
ceiling, or the exercise of certain reemployment or restoration rights. In fact, virtually all RIF actions are the
result of a reorganization (e.g., the agency reorganizes as the result of a shortage of funds, lack of work,
restructuring, etc.).

A furlough of more than 30 calendar days, or of more than 22 discontinuous workdays, is also a RIF action. (A
furlough of 30 or fewer calendar days, or of 22 or fewer discontinuous workdays, is an adverse action.)

An agency may not use the RIF regulations to separate or demote an employee for a personal reason, such as
problems with the employee's performance or conduct.




The Agency's Right to Reassign Employees
The abolishment of a position does not always require the use of RIF procedures. The agency has the right to
avoid a RIF action by simply reassigning an employee to a vacant position at the same grade or pay without
regard to the employee's rights under the RIF regulations. The vacant position may be in the same or in a
different classification series, line of work, and/or geographic location. The "Summary of Reassignment Under
the Regulations" includes additional information on reassignment.




Defining the Competitive Area
When preparing for a RIF, the agency defines the "Competitive Area" that establishes the geographical and
organizational limits for RIF competition.

A competitive area may consist of all or part of an agency. The minimum competitive area is an organization in
a local commuting area that is separate from other agency organizations because of differences in operation,
work function, staff, and personnel administration. Separate personnel administration is the authority of
managers to authorize personnel actions (i.e., establishing positions, abolishing positions, etc.), not just process
personnel actions. For example, a single personnel office may potentially process actions for multiple
competitive areas.

At its option, an agency may establish a competitive area larger than the minimum standard. The regulations
do not define the maximum size of a competitive area (e.g., a competitive area may potentially be nationwide or
even worldwide).

An Inspector General activity covered by the Inspector General Act of 1978 is always defined as a separate
competitive area.

If an agency wants to redefine a competitive area within 90 days of the RIF effective date, the agency must
obtain OPM's approval for the change.
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Defining the Local Commuting Area
While defining its competitive area, the agency also defines the appropriate "Local Commuting Area(s)" for
the competitive area.

A local commuting area usually includes one population center in which employees live and reasonably travel
back and forth to work. The regulations do not define a mileage standard for local commuting area. Instead,
the agency must apply the regulations and determine what is reasonable for a specific geographic location.




Establishing Competitive Levels
Within each competitive area, the agency groups interchangeable positions into "Competitive Levels."

Each competitive level includes positions with the same grade, classification series, and official tour of duty
(e.g., full-time, part-time, seasonal, or intermittent). For example, otherwise identical full-time and seasonal
positions are placed in separate competitive levels even when the agency conducts a RIF while the seasonal
employee happens to be working a full-time tour of duty.

All positions in a competitive level have interchangeable qualifications, duties, and responsibilities. The agency
establishes a competitive level based on employees' official position descriptions, not on the employees'
personal qualifications.

The agency establishes separate competitive levels for positions filled as part of a formally designated trainee or
developmental program. The agency also establishes separate competitive levels for positions filled on
competitive service appointments, and for positions filled on excepted service appointments.

The agency places two similar positions (e.g., same grade, classification series, work schedule, etc.), in the same
competitive level when the position descriptions for the two positions show that an employee in either one of
the positions needs no more than 90 days to be able to perform the key tasks of the other position.

The agency does not include employees with competitive service temporary appointments in the competitive
level because these employees serve at the will of the agency. The agency includes excepted employees with
temporary appointments of 1 year or less in the competitive level only after the employee completes more than 1
year of current continuous service under the same type of appointment.




Establishing Retention Registers
After grouping interchangeable positions into competitive levels, the agency applies the four retention factors in
establishing separate "Retention Registers" for each competitive level that may be involved in the RIF. The
terms "Competitive Level" and "Retention Register" generally have the same meaning. "Retention
Register" is the ranking of employees in the competitive level after the agency applies the four retention
factors.

The agency lists the name of each employee on the retention register in the order of the employee's relative
retention standing. For example, the employee with the highest standing is at the top of the register, and the
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employee with the lowest standing is at the bottom of the register.




Determining Retention Standing-Tenure
Beginning with Group I, the agency ranks competitive service employees on a retention register in three groups
according to their types of appointment:

Group I - Includes career employees who are not serving on probation. A new supervisor or manager who is
serving a probationary period that is required on initial appointment to that type of position is not considered to
be serving on probation if the employee previously completed a probationary period.

Group II - Includes career‑conditional employees, and career employees who are serving a probationary period
because of a new appointment.

Group III - Includes employees serving under term and similar non‑status appointments.

Retention registers for excepted positions use similar tenure groups.




Determining Retention Standing-Veterans'
Preference
The agency divides each of the three tenure groups into three subgroups based upon employees' entitlement to
veterans' preference for RIF purposes:

   1. Subgroup AD - Includes veterans who are eligible for RIF preference and who have a compensable
      service‑connected disability of 30% or more
   2. Subgroup A - Includes veterans eligible for RIF preference who are not eligible for subgroup AD
      (including eligible spouses, widowers or widowers, and mothers of veterans).
   3. Subgroup B - Includes nonveterans and others not eligible for RIF preference in subgroups AD and A.

OPM's publication "Vet Guide" has additional information on eligibility for veterans' preference. Vet Guide is
available on the OPM website.




Determining Retention Standing-Veterans'
Preference for Retired Members of the Armed
Forces
By law (i.e., the Dual Compensation Act of 1964, as presently codified in section 3501(a) of title 5, United States
Code), a retired member of the Armed Forces is a veteran under the RIF regulations only if the employee meets
one of the following three conditions:
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   1. The Armed Forces retirement (without regard to benefits from the Department of Veterans Affairs) is
      directly based upon a combat‑incurred disability or injury; or
   2. The Armed Forces retirement is based upon less than 20 years of active duty; or
   3. The employee has been working for the Government since November 30, 1964, without a break in service
      of more than 30 days.




Determining Retention Standing-Total Creditable
Service
Within each subgroup, the agency ranks employees by their respective service dates. For example, the agency
places the employee with the most service at the top of the subgroup, and places the employee with the least
service at the bottom of the subgroup.

Retention service credit includes all creditable Federal civilian and military service.

A retired member of the Armed Forces with 20 or more years of military service who is not eligible for veterans'
preference under the RIF regulations receives retention credit only for Armed Forces service during a war, or
service performed in a campaign or expedition for which the individual received a badge.




Determining Retention Standing-Performance
Employees receive extra retention service credit for performance based upon the average of their last three
annual performance ratings of record received during the 4‑year period prior to the date the agency either (1)
issues specific RIF notices, or (2) at its option, freezes ratings before issuing RIF notices. If an employee
received more than three ratings during the 4‑year period, the agency uses the three most recent annual ratings
of record.

Most employees receive performance ratings of record under one of eight possible summary rating patterns
required by paragraph 5 C.F.R. 430.208(d) of the performance appraisal regulations (e.g., a two-level
"Pass/Fail" pattern, a traditional five-level pattern, etc.) The RIF regulations cover situations when all
employees in the competitive area are covered by a single rating pattern (e.g., all employees are covered by a
five-level pattern), as well as situations when employees in the competitive area are covered by more than one
summary rating pattern (e.g., some employees are covered by a five level pattern, while other employees are
covered by a two-level "Pass/Fail" pattern).

      Single Rating Pattern.An agency has a single rating pattern when all employees in the competitive
      area received performance ratings of record under only one of the eight possible summary rating patterns.
      For example, all of the employees in the competitive area have ratings of record only under a five-level
      pattern, or only under a two-level pattern, or under the same three-level pattern, etc. The amount of
      extra retention service credit with a single rating pattern is:
          1. 20 additional years for each performance rating of "Outstanding" or equivalent (i.e., Level V);
          2. 16 additional years for each performance rating of "Exceeds Fully Successful" or equivalent
             (i.e., Level IV); and,
          3. 12 additional years for each performance rating of "Fully Successful" or equivalent (i.e., Level
             III).
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      The agency does not give any additional service credit for performance ratings below Fully Successful or
      equivalent (i.e., no additional retention service credit for a rating of record below Level 3).

      For example, an employee with 3 years of Federal service has one Outstanding rating of record, (20), and
      two Exceeds Fully Successful (16) ratings of record. The employee would receive additional reduction in
      force service credit based upon the three actual ratings of record: 20 + 16 + 16 = 52, divided by 3 = 17.3,
      rounded up to 18 years of additional retention credit for performance.

      The agency always rounds up a fraction (e.g., 17.3 years) to the next whole number (e.g., 18 years) for the
      final value of the employee's additional retention credit for performance.
      Multiple Rating Patterns. If an agency has employees in a competitive area who have performance
      ratings of record under more than one of the eight possible summary rating patterns, at its option the
      agency may provide different amounts of additional retention service credit for employees who have the
      same summary level, but are under different patterns. The range of additional service credit is still
      limited from 12 to 20 years.

      For example, the agency may elect to provide employees who have a Level 3 (Fully Successful or
      equivalent) rating of record under a two-level Pass/Fail pattern with 18 years of additional retention
      service credit, while electing to continue providing employees who have a Level 4 (Exceeds Fully
      Successful or equivalent) rating of record under a five-level pattern with 16 years of additional retention
      service credit.

      Less Than Three Ratings of Record. If an employee received one or two, but not three ratings of
      record during the applicable 4‑year period, the agency gives credit for performance on the basis of the
      actual rating(s) of record divided by the number of actual ratings received.

      Modal Rating. If an employee did not receive any ratings of record during the applicable 4‑year period,
      the agency gives retention credit on the basis of a single "Modal Rating" for the employee's summary
      level pattern.

      The modal rating is the summary rating level given most frequently to the summary rating pattern that
      applies to the employee's position. For example, if Level 4 (Exceeds Fully Successful) is the most
      frequent rating of record for employees covered by a five-level pattern, Level 4 is the modal rating for an
      employee under that pattern who did not receive any ratings of record.

The agency determines the modal rating on the basis of its most recently completed available ratings.

The agency also decides whether to base the modal rating upon ratings finalized throughout the agency, or upon
ratings finalized in a smaller agency organization (such as the competitive area).




Two Rounds of RIF Competition
In "First Round RIF Competition," the agency applies the four retention factors to a competitive level to
identify which employee has the lowest retention factor. The agency may use RIF procedures to release the
lowest-standing employee from the competitive level.

In "Second Round RIF Competition," the agency again applies the four retention factors, this time to
determine whether a released employee has a bump or retreat right to a position in a different competitive level
that is held by an employee with even lower retention standing.
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Sample Retention Register
This sample retention register, including additional credit for performance in the "RIF SCD," is a competitive
level for GS-343-12 (Management Analyst) full-time employees holding competitive service appointments:

                                 GS-343-12
 Group/Subgroup            Employee Name              SCD        RIF SCD
I-AD                   Smith, Joseph O.            04-02-73 04-02-57
I-A                    Brown, Nathanial T.         11-14-66 11-14-50
                       Wilson, William A.          07-31-65 07-31-53
I-B                    Downs, Christopher G.       06-17-64 06-17-44
                       Wright, Mary S.             03-28-94 03-28-74
                       Finn, Charles N.            04-15-93 03-28-77
                       White, Beatrice L.          08-22-95 08-22-79
II-A                   Robinson, John H.           08-21-01 08-21-81
II-B                   Keane, Susan M.             03-13-02 03-13-82



Release From the Competitive Level
The agency releases employees from the retention register in the inverse order of their retention standing. For
example, the agency begins with the employee who has the lowest standing in releasing employees from the
competitive level as a reduction in force action.

The agency releases all employees in group III before releasing employees in group II, and releases all
employees in group II before releasing employees in group I.

Then within subgroups, the agency releases all employees in subgroup B before releasing employees in
subgroup A, and releases all employees in subgroup A before releasing employees in subgroup AD.

The agency must notify any employees reached for release out of this regular order (such as under a temporary
or a continuing exception in order to retain an employee with special skills) of the reasons for the exception.




Sample Release From the Competitive Level
This sample retention register is a competitive level for GS-343-12 full-time employees holding competitive
service appointments:

                                                   GS-343-12
Group/Subgroup              Employee Name                 SCD           RIF SCD                Action
I-AD                 Smith, Joseph O.                 04-02-73       04-02-57
I-A                  Brown, Nathanial T.              11-14-66       11-14-50
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Group/Subgroup              Employee Name                  SCD            RIF SCD              Action
                     Wilson, William A.                07-31-65         07-31-53      Position abolished;
                                                                                      displaces White
I-B                  Downs, Christopher G.             06-17-64         06-17-44
                     Wright, Mary S.                   03-28-94         03-28-74
                     Finn, Charles N.                  04-15-93         03-28-77      Transfers to different
                                                                                      agency
                     White, Beatrice L.                08-22-95         08-22-79      Displaced by Wilson;
                                                                                      lowest standing; released;
                                                                                      retreats to GS-560-11
II-A                 Robinson, John H.                 08-21-01         08-21-81      Position abolished; lowest
                                                                                      standing; released; bumps
                                                                                      to GS-346-9
II-B                 Keane, Susan M.                   03-13-02         03-13-82      Position abolished; lowest
                                                                                      standing; released;
                                                                                      separated

Explanation - Based solely upon organizational needs, the agency abolished four positions, held by Wilson,
Finn, Robinson and Keane.

Finn transferred to a different agency before the RIF effective date.

In the RIF, Robinson and Keane had the lowest retention standing, and are released from the competitive level.

In other RIF-related actions, Wilson (in tenure group and subgroup I-A) displaced White (in tenure group and
subgroup I-B). White is released from the competitive level because of lowest retention standing. Wilson retains
the same I-A status after entering into White's former position. Wilson's displacement of White is not a RIF
action because Wilson was not released from the competitive level.

Unless White, Robinson, and Keane have bump or retreat rights to another position, the agency may separate
each employee by RIF.

Keane has no assignment right to another position and separates by RIF. Robinson has a bump right to another
position, while White has a retreat right. This summary will cover both the bump and the retreat actions in more
detail.




Possible Right to Bump or Retreat to an Available
Position
An employee who the agency releases from a competitive level may have bump or retreat rights to a continuing
position on a different competitive level held by another employee with lower retention standing.

A released competitive service employee in tenure groups I or II has Bump or Retreat rights to an "Available
Position" in the same competitive area if the agency would otherwise separate or demote the released
employee by RIF, and the released employee has a current performance rating of record equivalent to Minimally
Successful (Level II) or higher.
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Available Position. The existence of an "available position" does not oblige an agency to offer an
employee a particular position. However, an available position does establish the employee's right to be offered
a position at the same grade of the available position.

An "Available Position" must:

   1. Last at least 3 months;
   2. Not be a temporary time‑limited position;
   3. Be in the competitive service;
   4. Be a position that the released employee qualifies for;
   5. Have a pay rate that requires no reduction, or the least possible reduction, in the released employee's
      present grade (but not to a higher grade than the employee's present position.);
   6. Have the same type of work schedule (full‑time, part‑time, seasonal, intermittent, on‑call) as the released
      employee's present position;
   7. Be within three grades or grade‑intervals of the employee's present position ("Grade‑Intervals" are
      discussed below); and
   8. Be held by an employee:
   9. In a lower retention subgroup who is subject to bump rights, or
          1. In the same subgroup, but with less service, and who holds a position which the employee formerly
             occupied on a permanent basis (or an essentially identical position) that is subject to retreat rights.

Promotion potential is not a consideration in filling a position under the RIF regulations. A RIF offer may have
less, more, or the same promotion potential as the released employee's present position.

An employee with an excepted service appointment has no assignment rights under the RIF regulations.
However, an agency may elect to provide its excepted employees with RIF assignment rights to other excepted
positions under the same appointment authority.

To determine employees' potential qualifications to bump or retreat into another position, before the agency
issues RIF notices the agency may ask employees to submit a qualifications update by a designated freeze date.




Bumping Rights
"Bumping" means displacing an employee on a different competitive level who is in a lower tenure group, or
in a lower subgroup within the released employee's own tenure group.

For example, an otherwise eligible subgroup I-A employee could potentially bump a lower-standing employee
on a different competitive level in subgroup I-B, in tenure Group II, or in tenure Group III. For another
example, an otherwise eligible subgroup I-B employee could potentially bump a lower-standing employee in
tenure Group II, or tenure Group III.

Although the released employee must be qualified for the position, the bump right may be to a position that the
released employee never held.

At its option, the agency may consider employees' total service in determining an employee's bumping rights.
This option provides the first offer to the otherwise eligible released employee with the most service.
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Sample Bump Right to a Different Competitive
Level
This sample retention register is a competitive level for GS-346-9 (Logistics Management) full-time employees
holding competitive service appointments. In this example, John Robinson (from the example in Section 18),
who was released from the GS-343-12 competitive level by RIF, has a bump right to a position in the GS-343-9
competitive level because his II-A group and subgroup tenure is higher than the II-B tenure of Samuel Wills,
and he is qualified for the position. The agency then determines whether Samuel Wills has a bump or retreat
right to another position on a different retention register.

This is the best offer available to John Robinson. No higher-standing employee in RIF competition has a
greater right than John Robinson to this GS-346-9 position:

                                          GS-346-9
Group/Subgroup Employee Name                   SCD           RIF SCD          Action
I-A                  Lawrence, Patrick F. 01-19-79         01-19-65
I-B                  Jones, Bertha M.     05-01-94         05-01-74
                     Walsh, Charles N.    08-13-93         08-13 77
                     Hughes, Sheila C.    11-22-96         11-22-80
II-B                 Wills, Samuel H.     06-13-01         06/13/81      Bumped by
                                                                         Robinson from
                                                                         GS-343-12
                                                                         retention register;
                                                                         lowest standing;
                                                                         released;
                                                                         separated

After John Robinson bumps Samuel Wills, John Robinson retains the same II-A group and subgroup tenure
from the former GS-343-12 position. After the displacement of Samuel Wills, the retention register for the GS-
346-9 positions looks like this:

                                         GS-346-9
Group/Subgroup Employee Name                         SCD                RIF SCD
I-A                  Lawrence, Patrick F. 01-19-79                01-19-65
I-B                  Jones, Bertha M.     05-01-94                05-01-74
                     Walsh, Charles N.    08-13-93                08-13-77
                     Hughes, Sheila C.    11-22-96                11-22-80
II-A                 Robinson, John H. 08-21-01                   08-21-81



Retreating Rights
"Retreating" means displacing an employee on a different competitive level with less service within the
released employee's own tenure group and subgroup.
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The position may be up to five grades (or grade‑intervals) lower than the position held by the released employee
if he or she is a disabled veteran in Subgroup AD.

The position must also be the same position or essentially identical to a position held by the released employee
in any Federal agency on a permanent basis.

An employee with a current annual performance rating of record of Minimally Successful (Level II) has retreat
rights only to positions held by an employee with the same or a lower performance rating of record.




Sample Retreat Right to a Different Competitive
Level
This sample retention register is a competitive level for GS-560-11 full-time employees holding competitive
service appointments.

Beatrice White (from the example in Section 18), who was released from the GS-343-12 competitive level by
RIF, has the right to retreat to a position held by Charles Gabriel in the GS-560-11 competitive level. This is the
best offer available to Beatrice White, who is qualified for the position. The agency then determines whether
Charles Gabriel has a bump or retreat right to another position on a different retention register. No higher-
standing employee has a right to this GS-560-11 position:

                                       GS-560-11
Group/Subgroup Employee Name                   SCD       RIF SCD           Action
I-AD                 Malone, Michael M. 01-19-79         01-19-65
I-B                  Cook, Joseph G.       05-01-94      05-01-74
                     Gabriel, Charles N. 08-13-93        08-13-81    Displaced by
                                                                     White; lowest
                                                                     retention
                                                                     standing;
                                                                     released;
                                                                     separated

After Beatrice White retreats to the position held by Charles Gabriel, the retention register for the GS-560-11
positions looks like this:

                                  GS-560-11
Group/Subgroup Employee Name                  SCD             RIF SCD
I-AD                 Malone, Michael M. 01-19-79       01-19-65
I-B                  Cook, Joseph G.       05-01-94 05-01-74
                     White, Beatrice L.    08-22-95 08/22/79



Grade Intervals in Assignment Rights
The agency determines the grade limits of a released employee's assignment rights on the basis of the position
the employee holds on the RIF effective date, regardless of how the employee progressed to the position.
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For example, an employee released from a GS‑11 position that progresses GS‑5‑7‑9‑11 has potential bump and
retreat rights to available positions from GS-11 through GS‑5. An employee released from a GS‑9 position that
progresses GS-5-6-7-8-9 has potential bump and retreat rights to available positions from GS-9 through GS‑6.

The difference between successive grades in a one‑grade occupation is a grade difference, and the difference
between successive grades in a multi‑grade occupation is a grade‑interval difference.




Offers of Assignment to Vacant Positions
An agency is not required to offer vacant positions in a reduction in force, but may choose to fill all, some, or
none of the vacancies.

When an agency chooses to fill a vacancy with an employee reached for release from the competitive level by
RIF, the agency must consider the relative retention standing of all the released employees. For example, the
agency must offer a position to the released employee in the highest group and subgroup before offering a
position to an employee in a lower group and subgroup. This is consistent with a bump offer to an occupied
position.

The agency is not required to consider total service in offering positions to employees in the same group and
subgroup unless the employee with the most service also formerly held the position on a permanent basis. This
is consistent with a retreat offer of an occupied position.

The agency satisfies a released employee's right to RIF assignment rights if the agency offers the employee a
vacant position at the grade to which the employee has bump or retreat rights.

An agency may choose to waive qualifications in offering an employee RIF assignment to a vacant position.
However, the agency may not waive a minimum educational requirement. (An agency may never waive
qualifications in offering assignment to an occupied position.)

An agency may make a RIF offer of a vacant position to a released employee only if the vacancy is in the same
competitive area, and within three grades (or grade‑intervals) of the employee's present position.




RIF Notices
An agency must give an employee at least 60 days specific written notice before the employee is released from
the competitive level by a RIF action.

If faced with an unforeseeable situation (e.g., a natural disaster), the agency may, with OPM approval, give the
employee a specific RIF notice of less than 60 days, but at least 30 days, before the effective date of the RIF.




RIF Appeals and Grievances
An employee who has been separated, downgraded, or furloughed for more than 30 days by RIF has the right to
appeal the Merit Systems Protection Board (MSPB) if the employee believes that the agency did not properly
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follow the RIF regulations. The released employee must file the appeal during the 30‑day period beginning the
day after the effective date of the RIF action.

An employee in a bargaining unit covered by a negotiated grievance procedure that does not exclude RIF must
use the negotiated grievance procedure. The employee may not appeal the RIF action to the Board unless the
employee alleges the action was based upon discrimination. The collective bargaining agreement covers the
time limits for filing a grievance under a negotiated grievance procedure.




Additional Information from the Agency
The agency's human resources office can provide both employees and managers with additional information on
the RIF regulations. The office can also provide information on potential benefits, such as eligibility for:

   1. Career transition assistance,
   2. Separation incentives (if available),
   3. Rehiring selection priority,
   4. Severance pay,
   5. Retirement,
   6. Retraining,
   7. Unemployment compensation, and
   8. Relocation allowances.

REDUCTION IN FORCE DOWNGRADING OR
SEPARATION BENEFITS

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      Reduction in Force Downgrading or Separation Benefits
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      Severance Pay Estimation Worksheets

If you are affected by reduction in force (RIF), you may have many questions about how your employee benefits
will be affected. The information presented in this guide is intended to provide an overview of these benefits and
entitlements. The information is general in nature and cannot cover every situation. It may not be applicable to
every Federal employee. If you need more specific information, please contact your servicing human resources
office.
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Benefits for Downgraded Employees

Grade and Pay Retention
      If you are placed in a lower-graded position through RIF procedures, you will be entitled to retain the
      higher grade for two years if you completed at least 52 consecutive weeks at the higher grade. Also, if you
      are downgraded after receiving a specific RIF notice and taking a lower-graded position offered by
      management, you will be eligible for grade retention on the same basis as an employee who was actually
      downgraded by a RIF action.
      Your retained grade is considered to be the grade you held prior to RIF downgrading for most benefits
      purposes (including pay and pay administration, retirement, life insurance, eligibility for training,
      noncompetitive promotions, and within-grade increases). However, your retained grade for this RIF
      cannot be used as your retained grade for future RIF competition. For example, a GS-12 employee who is
      downgraded because of a RIF to a GS-9 position is still considered to be a GS-12 for most pay-related
      purposes, but would compete as a GS-9 in a later RIF.
      After grade retention expires, you will be eligible for indefinite pay retention. If you are downgraded
      because of a RIF but don't meet the 52-week eligibility for grade retention, you will also be eligible for
      indefinite pay retention. If your former rate of basic pay fits in the pay range for the lower-graded
      position, you will be placed in the lower pay range without a reduction in pay and pay retention will cease.
      If your former rate of basic pay is greater than the maximum rate of the pay range for the new position,
      your former rate will be continued as a retained rate (not to exceed 150 percent of the maximum rate for
      the grade in which you have been placed). You will then receive 50 percent of any adjustments (e.g.,
      annual salary increases) in the maximum rate for the lower (reduced) grade until that maximum rate
      equals or exceeds your higher (retained) rate. At that point, pay retention will cease.
      If you are on a temporary or term appointment at the time of a RIF, grade and pay retention will not
      apply.



Repromotion Consideration
      If you are downgraded because of RIF, your agency's internal placement plans may allow you to receive
      priority consideration for promotion to positions up to your former grade level. The specific policies and
      procedures for such consideration are established by each agency.

Part 536 of Title 5, Code of Federal Regulations, contains more information on grade and pay retention.




Benefits for Separated Employees

Severance Pay
      If you are about to be separated from a permanent position involuntarily and through no fault of your
      own, you will likely be eligible for severance pay. To be eligible, you must not have refused an offer of a
      position that is (1) in the same commuting area, (2) in the same agency, and (3) no more than two grades
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   below your current grade level. In addition, you must have been employed for at least 12 continuous
   months, and cannot be eligible for an immediate annuity from a federal civilian retirement system or
   from the uniformed services. Also, you must not be receiving workers' compensation benefits for wage
   loss due to an on-the-job injury.



Computation of Severance Pay:
   Only civilian service is creditable for severance pay. You will be entitled to 1 week's basic pay for each year
   of civilian service up through 10 years, plus 2 weeks' basic pay for each year of creditable service beyond
   10 years. In addition, an age adjustment allowance of 2.5 percent is added for each full quarter of a year
   you are over 40 years of age. The maximum amount of severance pay is one year's salary (52 weeks). (This
   is a lifetime limitation. Thus, any severance pay you may have received in the past is taken into account
   when applying the limit.) Severance payments will be equal to your weekly pay at the time of separation
   and will be paid out at regular pay period intervals (usually biweekly) until the severance pay is
   exhausted. The only deductions made from severance pay are taxes, social security (if applicable), and
   Medicare.
   Severance pay estimation sheets are located at the end of this guide. The actual calculation formula is
   somewhat more complicated and technical. The samples are intended to help compute the approximate
   amount of severance pay you might receive. To receive an actual computation, please contact your
   servicing human resources office.
   If you are reemployed in a permanent position with the Federal government or the District of Columbia,
   severance payments will be stopped immediately. If you are reemployed in the Federal government on a
   temporary appointment after a break of more than 3 calendar days, severance pay will be temporarily
   suspended. When your temporary appointment ends, the agency will restart the unexpired portion of
   your severance pay. If you accept a temporary appointment with the Federal government within 3
   calendar days of separation and subsequently leave that temporary job on an involuntary basis (e.g.,
   expiration of appointment), you are eligible for severance pay based on the separation from the temporary
   job. Severance pay would be recalculated based on your rate of pay when you separated from the
   temporary job. Employment in the private sector has no effect on your right to receive severance pay from
   the Federal government.



Unemployment Compensation
   The Department of Labor administers the unemployment insurance program for Federal employees
   through State governments. States, including the District of Columbia, determine the eligibility for
   benefits and the amounts to be paid to unemployed individuals. The program provides a weekly income
   for a limited period of time. The laws of the State or jurisdiction determine the amount of benefits and
   length of time they will be received. If you were separated you should file a claim for benefits at your State
   Employment Service office or unemployment insurance claims office. These State offices also allow you to
   register for potential employment opportunities. You must present your social security card, official
   notice of separation or non-pay status (Standard Form 50), specific RIF notice letter, and unemployment
   insurance notice (Standard Form 8). For more information, visit the Department of Labor's website.



Unused Annual Leave
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  All civilian employees covered by annual leave laws are entitled to receive a lump sum payment for
  accrued annual leave when separated from the Federal Government.
  If you are close to retirement age, you may be able to use annual leave to qualify for retirement benefits in
  some cases. See the retirement section later in this guide for more information.



Unused Sick Leave
  You will not be paid for unused sick leave. However, if you are separated from the Federal Government
  you are entitled to have your sick leave restored to your sick leave account if you are reemployed in the
  Federal Government. Also, unused sick leave will be added to your total service if you are eligible for an
  annuity under the Civil Service Retirement System (CSRS). Beginning October 28, 2009, if you are a
  Federal Employees Retirement System (FERS) employee eligible for an annuity, 50 percent of your
  unused sick leave will be added to your total service if you separate on or before December 31, 2013. After
  December 31, 2013, 100 percent of your unused sick leave will be added. FERS employees were not
  entitled to credit their unused sick leave to their total service before October 28, 2009.




Federal Employees Health Benefits Program
(FEHBP)

Separated Employees Only:
  If you have been receiving health insurance but are not eligible for an immediate annuity, you can
  continue health insurance free for 31 days after separation. You can then elect to continue receiving
  benefits under FEHBP. However, continued coverage is not automatic. You must request it in writing
  within 60 days of separation (or within 60 days of receiving a notice from the agency that FEHB coverage
  is terminating). You must pay your share, the government's cost, and an additional 2 percent
  administrative fee. This totals 102 percent of the cost. This temporary extension of coverage can last for 18
  months only. Your dependents can carry this coverage for up to 36 months. You can also convert to a
  private plan.
  If you are a Department of Defense employee who will be separated due to RIF, you can continue
  enrollment for 18 months following separation. During this time the enrollee pays both the employee and
  agency shares and any additional administrative costs.




Federal Employees Group Life Insurance (FEGLI)
Program

Separated Employees Only:
  If you are separated, you will be covered by FEGLI without cost to you for 31 days. If you are separated
  and not eligible for an immediate annuity, you can convert all or part of the life insurance to an individual
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      policy without taking a medical examination. You can purchase the individual policy from any eligible
      insurance company. This will be a private transaction between you and the company. You will pay the
      entire premium of the conversion policy, and the conversion must be made within 31 days after the
      effective date of the separation.




Thrift Savings Plan (TSP)

Withdrawing Money:
      When you separate from Federal service for more than 31 days, you can choose to leave your money in
      your TSP account or you can withdraw the vested TSP account balance. If the account balance is under a
      certain amount (currently $3500 or less), the TSP Service Office will notify you and you will be paid the
      account balance in a single payment unless you request that it remain there or you select another
      withdrawal option.
            For accounts over $3500, there are several options:
                   Leave the money in the TSP.
                   Transfer it entirely to an Individual Retirement Account (IRA) or other eligible retirement
                   plan.
                   Purchase a life annuity immediately or at a later date.
                   Receive a single payment immediately or at a later date.
                   Receive a single payment and ask the TSP to transfer a portion of it to an IRA or other
                   retirement plan.
                   Receive a series of equal monthly payments beginning immediately or at a later date.
                   Receive a series of equal monthly payments and ask the TSP to transfer each payment (or a
                   portion of it) to an IRA or other eligible retirement plan if the series of payments is expected
                   to last less than 10 years and is not based on your life expectancy.
      You will be taxed for any funds paid directly to you from TSP. If you separate before the year you reach
      age 55, you will be charged a 10 percent penalty for early TSP withdrawal. The booklet, "Withdrawing
      Your TSP Account After Leaving Federal Service," dated February 1998, outlines these options in detail.
      The TSP website provides the appropriate forms to exercise the withdrawal option.




Retirement Benefits
Most Federal employees who were first hired before January 1, 1984, are covered by CSRS. Most employees first
hired on or after January 1, 1984, are automatically covered by FERS.



Refunds
      If you separate from Federal employment before completing a minimum of 5 years of creditable civilian
      service, you will not be eligible to receive optional or deferred annuity benefits under CSRS or FERS. If
      you receive a refund of retirement deductions under CSRS or FERS, you can, after reemployment with the
      Federal government, repay the refunded amount plus interest so that the period of service covered by the
      refund can be included in the computation of annuity benefits. You do not have to take a refund of your
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   CSRS or FERS retirement contribution if you are separated from Federal service. Employees are paid
   interest on their FERS accounts, but they receive no interest on CSRS accounts that are more than 5 years
   old. You have already paid taxes on the retirement deductions that have been deducted from your
   paycheck. You must also pay taxes on the interest earned on the money in your retirement account.



Deferred Annuity
   If you separate from the Federal service after completing at least 5 years of creditable civilian service, but
   before becoming eligible for an immediate annuity, you will be entitled to a deferred annuity at age 62
   under either CSRS or FERS. If you are under FERS, you may be eligible for a deferred annuity before age
   62 under certain conditions. If you are eligible for a deferred annuity, you can receive a refund of your
   retirement deductions in lieu of the annuity, provided that you are more than 31 days away from
   qualifying for an annuity when filing for the refund.



Using Annual Leave to Reach Eligibility
   If you are scheduled to be separated by RIF, you can use your accumulated annual leave to remain on
   your agency's rolls past the RIF effective date if doing so would allow you to reach your first retirement
   eligibility date or FEHB carryover eligibility. You must have enough annual leave to cover the period from
   the RIF effective date to the first date you meet the minimum age and service criteria for CSRS or FERS
   retirement (as applicable). You must meet the other eligibility requirements for optional or discontinued
   service retirement as described below.
   The accumulated annual leave balance generally includes all annual leave in your account as of the RIF
   effective date, plus the annual leave earned while you are on leave between the RIF effective date and your
   first retirement eligibility date. If you wish to exercise this option, you should check with your human
   resources office for the necessary procedures.



Immediate Annuity (CSRS)
   If you have been serving under CSRS for at least 1 of the last 2 years before your separation, you will be
   eligible for an immediate annuity if you meet the following minimum age and service requirements:



Optional Retirement:
   Age 62 and 5 years creditable civilian service.
   Age 60 and 20 years total creditable service.
   Age 55 and 30 years total creditable service.



Discontinued Service retirement:
   Age 50 and 20 years total creditable service.
   Any age and 25 years total creditable service.
   If you are under CSRS and you retire before age 55, your annuity will be reduced by 2 percent for each
   year you are under age 55 (1/6 of one percent for each month below age 55).
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Additional Discontinued Service Retirement
Requirements:
Whether you are under CSRS or FERS, you will be eligible for discontinued service retirement if:

      You are reached for an involuntary action (such as job abolishment or reassignment to a position in a
      different commuting area).
      You have not received an offer of another position at or within two grades below your present position in
      the same local commuting area.



Immediate Annuity (FERS)
      If you are under FERS, you will be eligible for an immediate annuity if you meet the following minimum
      age and service requirements:



Optional Retirement:
      Age 62 and 5 years creditable civilian service.
      Age 60 and 20 years total creditable service.
      Minimum retirement age and 10 years total creditable service.
      If you are a FERS employee who was born before 1948, the minimum retirement age is 55. It gradually
      increases from 55 to 57 if you were born between 1948 and 1970. Also, your FERS annuity will be reduced
      by 5 percent for each year you are under age 62. You can avoid the age reduction entirely by choosing as
      the commencing date of your annuity either:
             a date that is less than 1 full month before you reach age 62 if you have less than 20 years of service;
             or
             the first day of any month after you have reached age 60, if you have at least 20 years of service.



Discontinued Service Retirement:
      Age 50 and 20 years total creditable service.
      Any age and 25 years total creditable service.

If you are under FERS and retire on a discontinued service annuity under the age of 55, your annuity will not be
reduced. If you have transferred to FERS and have service under CSRS, the CSRS portion of your annuity will be
reduced by 2 percent per year if you are under age 55.




Reemployment and Retraining Programs

Reemployment Programs—

Agency Career Transition Assistance Plans (CTAP)
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   Agencies are required to provide assistance to help their surplus and displaced employees find new
   employment. Each agency will provide:
          services to help their employees find new employment, either in the public or private sector, and
          selection priority for competitive service vacancies within the agency.
   Agencies have developed Career Transition Assistance Plans with specific policies describing the
   assistance available to their employees. Questions regarding an agency's CTAP should be referred to the
   agency's human resources office.



Priority Placement Program (PPP)
   The Priority Placement Program (PPP), also called the "Department of Defense Stopper List", is a
   program run solely by the Department of Defense (DoD) for its employees. It is the equivalent of a non-
   Defense agency's Career Transition Assistance Plan. Questions regarding the PPP should be referred to
   the nearest DoD human resources office or the DOD Civilian Assistance in Re-Employment (CARE) Office
   at (703) 696-1799.



Reemployment Priority List (RPL)
   The RPL prevents employees from outside the agency from being employed ahead of agency employees
   who will be or have been separated by RIF. It provides separated employees with the first opportunity for
   positions within their former agency. Agencies must have a separate RPL for each commuting area from
   which eligible employees have been separated by RIF.



Eligibility:
   You are eligible to apply for the RPL if:
         You are serving under an appointment in the competitive service in tenure group I or II at the time
         of RIF separation;
         You have not refused an offer of assignment to a position at the same grade or representative rate
         during RIF; and
         You have a current rating of record of at least minimally successful.



Consideration:
   You are entitled to be considered for positions for which you are available, providing all of the following
   conditions are met:
   You meet the qualification requirements for the position;
   The position is at no higher grade (or equivalent) and has no greater promotion potential than the
   position from which you were separated;
   The position has the same type of work schedule as the position from which you were separated; and
   The position is in the same commuting area as the position from which you were
   separated.



Duration:
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   You can remain on the RPL for 2 years.



How to Apply:
   You can apply through your servicing human resources office beginning when you receive either a
   Certificate of Expected Separation or a RIF separation notice through the effective date of RIF separation.



Interagency Career Transition Assistance Plan (ICTAP)
   The Interagency Career Transition Assistance Plan (ICTAP) is designed to help Federal employees who
   have lost their jobs due to downsizing find positions in other Federal agencies.



How the ICTAP Works:
   When an agency is willing to go outside the agency to hire candidates, it must advertise its vacancies on
   OPM's automated government-wide employment information system, USAJOBS.
   USAJOBS provides easily accessible worldwide Federal employment information, updated every business
   day from a database of more than 12,000 worldwide job opportunities. USAJOBS is available to job
   seekers in a variety of formats (including computer or telephone), ensuring access for customers with
   differing physical and technological capabilities. It is convenient, user friendly, and available 24 hours a
   day, seven days a week.
   USAJOBS is available through:
          Internet—You can find employment information at the USAJOBS website.
          On the website, you can retrieve current job vacancies worldwide, find employment information
          fact sheets, obtain applications and forms, and apply for many jobs online. The USAJOBS website
          also has an Online Resume Builder feature you can use to create online resumes specifically
          designed for Federal jobs. You can print your USAJOBS resume and fax or mail it to employers, and
          save and edit it for future use. For many vacancies listed on the site, you can submit your USAJOBS
          resume directly to hiring agencies electronically.
          When you see a vacancy for which you are qualified, you should develop the application package to
          show how you meet the specific qualification requirements of the position. Next, you should attach
          appropriate proof of eligibility for ICTAP, and apply directly to the location stated on the vacancy
          announcement. You must meet all the requirements stated on the vacancy announcement (e.g.,
          closing date, area of consideration, etc.).
          The agency will review your application material. If you meet all of the qualification requirements
          of a position that is in the local commuting area from which you were separated, and you are
          considered to be well-qualified for the job, the agency is required to select you over almost any
          other candidate(s) from outside the agency.
          Questions regarding specific vacancies and well-qualified requirements can be addressed to the
          agency conducting the recruitment.




USACAREERS
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ICTAP Eligibility Requirements
   You are eligible if you are:
   a current career or career-conditional competitive service employee at GS-15 or below in tenure group 1 or
   2 and you have received a specific RIF separation notice or a notice of proposed removal because you
   declined a transfer of function or directed reassignment outside your commuting area.
   a former career or career-conditional competitive service employee at GS-15 or below in tenure group 1 or
   2 and you:
         were separated by RIF.
         declined Directed Reassignment/Transfer of Function: You have been or are being separated
         because you declined a transfer of function or directed reassignment outside your commuting area.




Length of ICTAP Eligibility
   You will be eligible for special selection priority in other agencies for 1 year after your separation date if
   you:
        were separated by RIF.
        declined directed reassignment/transfer of function.



Proof of Eligibility
   You must attach the following proof of eligibility in order to exercise selection priority when applying for
   positions:
         separated by RIF:
               a copy of the Standard Form 50 (Notification of Personnel Action) showing that you were
               separated by RIF, or
               a copy of the RIF separation notice.
         declined directed reassignment/transfer of function:
               a copy of the Standard Form 50 indicating that you were separated because you declined a
               transfer of function or directed reassignment outside your local commuting area, or
               a copy of the notice of proposed removal for declining a transfer of function or directed
               reassignment.



Retraining Opportunities
   Many states offer excellent opportunities for displaced employees to take various types of training
   through government funding to help them qualify for jobs. This may include the opportunity to train for a
   new career field.
   For information on training or retraining opportunities, contact your local State employment services
   department and ask about training/retraining possibilities under the Workforce Investment Act of 1998.
   The U.S. Department of Labor administers a dislocated worker program to assist laid off workers who are
   unlikely to return to their previous industry or occupation. The dislocated worker program authorizes a
   wide range of services to help individuals obtain meaningful re-employment. These services may include
   assessments of skills and interests, job development, counseling, job search assistance, career exploration,
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      and occupational skills retraining, like computer training. States and local grantees decide on the
      particular mix and availability of services. The program is funded by U.S. Department of Labor,
      Employment & Training Administration.




Severance Pay Estimation Worksheets
The following are samples for use in estimating the amount of severance pay. The actual calculation formula is
somewhat more complicated and technical. The samples are intended to allow you to figure the approximate
amount of severance pay you may receive. The computation presumes that you were a full-time employee and
that you have not previously received severance pay based on an earlier involuntary separation. OPM is not
responsible for the accuracy of the results that this worksheet may give you. IF YOU WANT AN ACCURATE
CALCULATION, PLEASE CONTACT YOUR HUMAN RESOURCES OFFICE.

Severance Pay Estimation Worksheet
line 1. Annual Rate of Basic Pay (at time of separation) = _______________

line 2. Weekly Rate (divide line 1 by 2087 and then multiply result by 40) = _______________
(Note: This weekly rate can also be derived by dividing the annual rate by 52.175.)

line 3. Years of Service (see A and B below)
A. If your length of service is LESS THAN 10 years, enter your length of service on line 3a.

B. If your length of service is MORE THAN 10 years:

(1) enter your length of service: __________

(2) subtract 10 from your length of service: -10 = __________

(3) multiply the result by 2:   2 = __________

(4) add 10 to the amount listed in 3): +10

(5) enter this total on line 3a. ___________

line 3a. Adjusted Years of Service = _______________

line 4. Basic Severance Pay (multiply amount on line 2 by the number on line 3a) = _______________

line 5. Age Adjustment Factor (if your age is above 40, look
your age up on the "AGE TABLE AND FACTORS" chart
attached. Enter the "factor" number shown.)

Age = _______ years and _______ months. Factor = _______

line 6. Adjusted Severance Pay (multiply the amount in line 4 by the line 5 factor) = _______________

line 7. Multiply the amount in line 2 by 52 weeks. = _______________
This is the maximum amount of severance pay payable under the 1-year (52 weeks) limit.

line 8. If line 6 exceeds line 7, enter amount on line 7. Otherwise enter the line 6 amount. =
_______________
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This is the estimated amount of your total severance pay fund.

line 9. Multiply the amount in line 2 by 2. = _______________
This is the estimated amount of your biweekly severance payment (before deductions).

line 10. Divide the amount in line 8 by the amount in line 9 and multiply the result by 2. = _______________
This is the approximate number of weeks of severance payments you will receive
(assuming you are not reemployed by the government).

Severance Pay Estimation Worksheet
line 1. Annual Rate of Basic Pay (at time of separation) = $ 73,619

line 2. Weekly Rate (line 1 divided 2087 and then multiplied by 40) = $1,411
(Note: This weekly rate can also be derived by dividing the annual rate by 52.175.)

line 3. Years of Service (see A and B below)
A. If your length of service is LESS THAN 10 years, enter your length of service on line 3a.

B. If your length of service is MORE THAN 10 years:

(1) enter your length of service: 18

(2) subtract 10 from your length of service: -10 = 8

(3) multiply the result by 2: 8 x 2 = 16

(4) add 10 to the amount listed in 3): +10

(5) enter this total on line 3a. 26

line 3a. Adjusted Years of Service = 26

line 4. Basic Severance Pay (multiply amount on line 2 by the number on line 3a) = $ 36,686

line 5. Age Adjustment Factor (if your age is above 40, look
your age up on the "AGE TABLE AND FACTORS" chart
attached. Enter the "factor" number shown.)

Age = 52 years and 0 months. Factor = 2.2

line 6. Adjusted Severance Pay (multiply the amount in line 4 by the line 5 factor) = $ 80,709.20

line 7. Multiply the amount in line 2 by 52. = $73,372
This is the maximum amount of severance pay payable under the 1-year (52 weeks) limit.

line 8. If line 6 exceeds line 7, enter amount on line 7. Otherwise enter the line 6 amount. = $73,372
This is the estimated amount of your total severance pay fund.

line 9. Multiply the amount in line 2 by 2. = $ 2,822
This is the estimated amount of your biweekly severance payment (before deductions).

line 10. Divide the amount in line 8 by the amount in line 9 and multiply the result by 2. = 52 weeks
This is the approximate number of weeks of severance payments you will receive
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(assuming you are not reemployed by the government).


                                        Severance
 Years Months Factor          Years    Months       Factor    Years    Months    Factor
40       3-5      1.025     48        6-8       1.850        56       9-11      2.675
40       6-8      1.050     48        9-11      1.875        57       0-2       2.700
40       9-11     1.075     49        0-2       1.900        57       3-5       2.725
41       0-2      1.100     49        3-5       1.925        57       6-8       2.750
41       3-5      1.125     49        6-8       1.950        57       9-11      2.775
41       6-8      1.150     49        9-11      1.975        58       0-2       2.800
41       9-11     1.175     50        0-2       2.000        58       3-5       2.825
42       0-2      1.200     50        3-5       2.025        58       6-8       2.850
42       3-5      1.225     50        6-8       2.050        58       9-11      2.875
42       6-8      1.250     50        9-11      2.075        59       0-2       2.900
42       9-11     1.275     51        0-2       2.100        59       3-5       2.925
43       0-2      1.300     51        3-5       2.125        59       6-8       2.950
43       3-5      1.325     51        6-8       2.150        59       9-11      2.975
43       6-8      1.350     51        9-11      2.175        60       0-2       3.000
43       9-11     1.375     52        0-2       2.200        60       3-5       3.025
44       0-2      1.400     52        3-5       2.225        60       6-8       3.050
44       3-5      1.425     52        6-8       2.250        60       9-11      3.075
44       6-8      1.450     52        9-11      2.275        61       0-2       3.100
44       9-11     1.475     53        0-2       2.300        61       3-5       3.125
45       0-2      1.500     53        3-5       2.325        61       6-8       3.150
45       3-5      1.525     53        6-8       2.350        61       9-11      3.175
45       6-8      1.550     53        9-11      2.375        62       0-2       3.200
45       9-11     1.575     54        0-2       2.400        62       3-5       3.225
46       0-2      1.600     54        3-5       2.425        62       6-8       3.250
46       3-5      1.625     54        6-8       2.450        62       9-11      3.275
46       6-8      1.650     54        9-11      2.475        63       0-2       3.300
46       9-11     1.675     55        0-2       2.50         63       3-5       3.325
47       0-2      1.700     55        3-5       2.525        63       6-8       3.350
47       3-5      1.725     55        6-8       2.550        63       9-11      3.375
47       6-8      1.750     55        9-11      2.575        64       0-2       3.400
47       9-11     1.775     56        0-2       2.600        64       3-5       3.425
48       0-2      1.800     56        3-5       2.625        64       6-8       3.450
48       3-5      1.825     56        6-8       2.650        64       9-11      3.475

LEARNING ABOUT TRANSFER OF FUNCTION
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The transfer of function regulations require that under certain conditions nontemporary employees have the
right to move with their work to another organization if the alternative is separation or downgrading by
reduction in force.

This summary covers the procedures in the transfer of function regulations. With this summary, employees,
managers, employee representatives, and others will have an overview of both the agency's and employees'
rights in a transfer of function or similar situation involving the transfer of positions from one organization to
another.

The appropriate human resources office can provide additional information on specific questions relating to
transfer of function policies, options, and entitlements.




Legal Basis for Transfer of Function
The transfer of function regulations are derived from section 3503 of title 5, United States Code. The regulations
published in subpart C, part 351 of title 5, Code of Federal Regulations, implement the statute.




Transfer of Function Because of Organizational
Change
A transfer of function takes place when a function ceases in one competitive area, and moves to one or more
other competitive areas that do not perform the function at the time of transfer.
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"Competitive Area" is a reduction in force term. The agency establishes each of its competitive areas on the
basis of organization and geography. The "Summary of OPM's Reduction in Force Regulations"
includes additional information on competitive area.

OPM's transfer of function regulations apply only when, after transfer, the gaining competitive area uses
Federal employees to perform the function. For example, a transfer of function does not take place when after
transfer the gaining competitive area performs the work through contract employees, a reimbursable agreement
with a different competitive area, or by members of the Armed Forces. The movement of work solely within a
competitive area is a reorganization, and is not a transfer of function.




Transfer of Function Because the Competitive
Area Relocates
A transfer of function also takes place when the entire competitive area moves to a different local commuting
area without any additional organizational change.

For example, a claims office in Baltimore, Maryland, is a stand-alone competitive area. A transfer of function
takes place when the Baltimore claims office moves to Wilmington, Delaware (a different local commuting
area), where the office continues as a separate stand-alone competitive area.

The "Summary of OPM's Reduction in Force Regulations" includes additional information on "Local
Commuting Area." A local commuting area usually includes one population center in which employees live
and reasonably travel back and forth to work. OPM's regulations do not define a mileage standard for local
commuting area.




Interagency Transfer of Function
A transfer of function may be intra- or interagency. The transfer of function regulations use the same
procedures for both types of transfers.

An interagency transfer of a function and/or personnel requires specific statutory authorization. Without a
specific legislative basis, an agency has no authority to permanently transfer a function and/or personnel to
another agency.

An intra-agency transfer of function does not require statutory authority.




Modifying Transfer of Function Rights
Congress has the authority to exempt intra- and interagency transfers of function from the transfer of function
provisions. Congress may also modify the rights of employees involved in intra- or interagency transfers of
function.
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Employee's Right to Transfer With a Function
An employee has no right to transfer with the function unless the alternative in the competitive area losing the
function is separation or demotion by reduction in force.

An agency may always direct an employee's reassignment to another position (regardless of location) in lieu of
transfer of function rights. The vacant position may be in the same or in a different classification series, line of
work, and/or geographic location. The "Summary of Reassignment" includes additional information on
reassignment.




A Transfer of Function May Result in a RIF Action
If the transfer of function results in a surplus of employees in the gaining competitive area, before separation or
demotion, with one exception covered in the next paragraph all employees who transfer with the function
compete under the reduction in force regulations on equal terms with other employees in the gaining
competitive area for available positions.

An employee whose position is transferred to the gaining competitive area for liquidation with a function that
will not continue for more than 60 days does not compete under the reduction in force regulations for other
positions in the gaining competitive area.




Transfer of Function Canvass Letters
When a transfer of function will result in employees moving to a different local commuting area, the losing
competitive area may use a "Transfer of Function Canvass Letter" to determine which employees wish to
be considered for positions in a different local commuting area. A transfer of function canvass letter does not
guarantee an employee a position at the new location, but simply asks the employee to state an interest in
transferring with the function.

The losing competitive area may use the canvass letter as the basis to separate an employee who declines to
transfer with the function to a different local commuting area.

An employee who chooses not to transfer with the function has no right to be in reduction in force competition
for other positions in the losing competitive area. However, at its option the losing competitive area may include
the employee in a concurrent reduction in force.

An employee who initially chooses to transfer with the function may later reconsider and decline to transfer to
the new location. However, an employee who declines to transfer with the function may not later change the
original declination to an acceptance of the offer to transfer with the function to the new location.

An employee is generally eligible for relocation expense allowances for a transfer of function that requires
relocation to a different local commuting area. The General Services Administration (GSA) publishes its Federal
Travel Regulation (FTR) in 41 CFR subpart F. The complete FTR and other relocation-related information are
available on GSA's website. See "Additional Information from the Agency" below.
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Adverse Action Separation for Declining a
Geographic Transfer of Function
The losing competitive area must use adverse action procedures to separate an employee who chooses not to
transfer with the function to a different geographic location unless the losing competitive area at its option
includes the employee in a concurrent reduction in force. If the employee chooses not to transfer with the
function, the losing competitive area may not separate the employee any sooner than it transfers employees who
choose to transfer to the gaining competitive area.

After receiving a separation notice, the employee becomes eligible for most of the benefits available to an
employee who receives a notice of reduction in force separation (e.g., potentially eligible for intra- and
interagency hiring priority, severance pay, discontinued service retirement, etc.). See "Additional Information
from the Agency" below.

An employee does not have the option of declining transfer to a position in the employee's present local
commuting area.




Identifying Employees for Transfer
The losing competitive area identifies employees and positions for transfer with a function on the basis of each
employee's official position. The regulations provide agencies with two procedures to identify employees for
transfer with a function:

   1. "Identification Method One"; and
   2. "Identification Method Two."




Identification Method One
Under Identification Method One, the losing competitive area identifies an employee with a transferring
function if:

   1. The employee performs the function during at least half of the employee's work time; or
   2. Regardless of the amount of time that the employee performs the function, the function includes the
      duties controlling the employee's grade or rate of pay (i.e., the grade controlling duties transferring with
      the function fully support the employee's grade or rate of pay).




Identification Method Two
The losing competitive area uses Identification Method Two only to identify positions and employees not
covered by Identification Method One.
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Under Identification Method Two, the losing competitive area identifies for transfer the number of employees it
needs to perform the function.

To determine which employees are identified for transfer under Identification Method Two, the losing
competitive area uses "Retention Registers" that list employees working on the function in the order of their
respective reduction in force retention standing. The "Summary of OPM's Reduction in Force Regulations"
includes additional information on retention registers.

Identification Method Two provides that the losing competitive area identifies employees with the lowest
retention standing for transfer with the function. However, if this procedure would result in the employees'
separation or demotion by reduction in force in the losing competitive area of an employee with a higher
retention standing, the losing competitive area instead identifies employees with the highest retention
standing for transfer.




Volunteers for Transfer
At their option, the losing and the gaining competitive areas can agree that volunteers may transfer with the
function, provided that no employee identified for transfer under Identification Methods One or Two is later
separated or demoted solely because a volunteer transferred in place of a properly identified employee to the
gaining competitive area.




Transfer of Function Appeals
An employee may not file an appeal to the Merit Systems Protection Board based solely on a transfer of function
issue. However, an employee who is reached for separation or demotion because of a reduction in force or an
adverse action after declining transfer may raise transfer of function as in issue in that appeal.

The released employee must file the appeal no later than 30 days after the effective date of the reduction in force
or adverse action. In some situations, an employee may not have the right to file an appeal to the Board because
the negotiated grievance procedures contained in relevant collective bargaining agreement are the exclusive
procedures for resolving any action that could otherwise be appealed to the Board (with some exceptions
covered in the Board's regulations). The collective bargaining provides the time period for filing a grievance
under the negotiated grievance procedures.




Realignment Actions That Are Not a Transfer of
Function
An employee has no right to transfer with a function if, at the time of transfer, the gaining competitive area
performs the same type of work as the function that is transferring from the losing competitive area. Also, an
employee has no right to transfer if the function does not cease in the losing competitive area at the time of
transfer. In these situations, the employee has a right to compete in a reduction in force in the losing
competitive area if the agency does not offer the employee another position at the same grade. The offered
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position may be in the same or in a different local commuting area. The agency must use adverse action
procedures to separate an employee who declines relocation (e.g., by reassignment, change of duty station,
realignment, etc.) to a different local commuting area.




Additional Information from the Agency
The agency's human resources office can provide both employees and managers with additional information on
OPM's transfer of function regulations. The office can also provide information on potential benefits, such as
eligibility for:

   1. Career transition assistance
   2. Separation incentives (if available)
   3. Rehiring selection priority
   4. Severance pay
   5. Retirement
   6. Retraining
   7. Unemployment compensation
   8. Relocation allowances
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OPM.gov / Policy / Pay & Leave / Pay Administration



FACT SHEET: SEVERANCE PAY ESTIMATION
WORKSHEET
Description
Severance pay is authorized under 5 U.S.C. 5595 and 5 CFR part 550, subpart G, for full-time and part-time
employees who are involuntarily separated from Federal service and who meet other conditions of eligibility.
(See Fact Sheet: Severance Pay for additional guidance.) This fact sheet provides a worksheet that can be used to
calculate a severance pay estimate, an example of a severance pay calculation, and a table providing the age
adjustment factors used in severance pay computations for employees more than 40 years old.

Basic Severance Pay Allowance

The basic severance pay allowance consists of—

      One week of pay at the rate of basic pay for the position held by the employee at the time of separation for
      each full year of creditable service through 10 years;
      Two weeks of pay at the rate of basic pay for the position held by the employee at the time of separation
      for each full year of creditable service beyond 10 years; and
      Twenty-five percent of the otherwise applicable amount for each full 3 months of creditable service
      beyond the final full year.



Age Adjustment Allowance
The basic severance pay allowance is augmented by an age adjustment allowance consisting of 2.5 percent of the
basic severance pay allowance for each full 3 months of age over 40 years.



Rate of Basic Pay
“Rate of basic pay” means the rate of pay fixed by law or administrative action for the position held by the
employee, including, as applicable, annual premium pay for standby duty, law enforcement availability pay,
straight-time pay for regular overtime hours for firefighters, night differential for prevailing rate employees,
locality payments, and special rate supplements. Rate of basic pay does not include additional pay of any other
kind. (See the definition of “rate of basic pay” in 5 CFR 550.703.)

Note: The following worksheet is intended to allow an employee who is eligible for severance pay to calculate
the approximate amount of severance pay he or she may receive. The actual calculation formula is somewhat
more complicated and technical. The computation below presumes that the employee was full-time and has not
previously received severance pay based on an earlier involuntary separation. The Office of Personnel
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Management is not responsible for the accuracy of the estimate that this worksheet may provide. Employees
should contact their agency’s human resources office for information on their official severance pay entitlement.



Severance Pay Estimation Worksheet
STEP                                                  DESCRIPTION
Step 1 Annual Rate of Basic Pay (at time of separation) = _______________

         Weekly Rate (divide result of step 1 by 2,087 and then multiply by 40)

         (___________ / 2,087) x 40 = ______________
Step 2


         (Note: This weekly rate can also be derived by dividing the annual rate by 52.175.)

         Years of Service (use step 3A or step 3B below, as appropriate)
         A. If your length of service is less than 10 years, enter your length of service: __________. Continue to
         step 4.

         B. If your length of service is more than 10 years:

         (1) enter your length of service: __________
Step 3
         (2) subtract 10 from your length of service from line 1: ______ - 10 = __________

         (3) multiply the result of line 2 by 2: ______ x 2 = __________

         (4) add 10 to the result of line 3: ______ + 10 = __________

         This is your adjusted years of service. Continue to step 4.


         Basic Severance Pay (multiply result of step 2 by the result of step 3A or 3B, as appropriate)
Step 4
         _________ x __________ = ___________


         Age Adjustment Factor (If your age is above 40, look up your age on the “Age Table and Factors” chart
         below. Enter the “factor” shown. If your age is below 40 years and 3 months, your “factor” is 1.)
Step 5
         Age = _______ years and _______ months

         Factor = _______


         Adjusted Severance Pay (multiply the result of step 4 by the factor listed in step 5)
Step 6
         __________ x ____________ = _______________

Step 7
         Multiply the result of step 2 by 52 weeks.

         __________ x 52 = _______________
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STEP                                                  DESCRIPTION

         This is the maximum amount of severance pay payable under the 1-year (52 weeks) limit.



         If the result of step 6 exceeds the result of step 7, enter the result of step 7: _________

Step 8 Otherwise, enter the result of step 6: ___________

         This is the estimated amount of your total severance pay fund.


         Multiply the result of step 2 by 2.

Step 9 ___________ x 2 = _______________

         This is the estimated amount of your biweekly severance payment (before deductions).


         Divide the result of step 8 by the result of step 9 and then multiply by 2.

         (________ / _________) x 2 = _______________
Step
10
         This is the approximate number of weeks of severance payments you will receive (assuming you are not
         reemployed by the Government).




Severance Pay Calculation Example
STEP                                                  DESCRIPTION

Step 1 Annual Rate of Basic Pay (at time of separation) = $73,619


         Weekly Rate (divide result of step 1 by 2,087 and then multiply by 40)

         ($73,619 / 2,087) x 40 = $1,411
Step 2


         (Note: This weekly rate can also be derived by dividing the annual rate by 52.175.)

Step 3
         Years of Service (use step 3A or step 3B below, as appropriate)


         A. If your length of service is less than 10 years, enter your length of service: __________. Continue to
         step 4.


         B. If your length of service is more than 10 years:
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STEP                                                   DESCRIPTION
         (1) enter your length of service: 18

         (2) subtract 10 from your length of service from line 1: 18 - 10 = 8

         (3) multiply the result of line 2 by 2: 8 x 2 = 16

         (4) add 10 to the result of line 3: 16 + 10 = 26

         This is your adjusted years of service. Continue to step 4.


         Basic Severance Pay (multiply result of step 2 by the result of step 3A or 3B, as appropriate)
Step 4
         $1,411 x 26 = $36,686


         Age Adjustment Factor (If your age is above 40, look up your age on the “Age Table and Factors” chart
         below. Enter the “factor” shown. If your age is below 40 years and 3 months, your “factor” is 1.)
Step 5
         Age = 52 years and 0 months

         Factor = 2.2


         Adjusted Severance Pay (multiply the result of step 4 by the factor listed in step 5)
Step 6
         $36,686 x 2.2 = $80,709.20


         Multiply the result of step 2 by 52 weeks.

         $1,411 x 52 = $73,372
Step 7


         This is the maximum amount of severance pay payable under the 1-year (52 weeks) limit.


         If the result of step 6 exceeds the result of step 7, enter the result of step 7: $73,372

Step 8 Otherwise, enter the result of step 6: ___________

         This is the estimated amount of your total severance pay fund.


         Multiply the result of step 2 by 2.

Step 9 $1,411 x 2 = $2,822

         This is the estimated amount of your biweekly severance payment (before deductions).

Step
10       Divide the result of step 8 by the result of step 9 and then multiply by 2.

         ($73,372 / $2,822) x 2 = 52
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STEP                                             DESCRIPTION

       This is the approximate number of weeks of severance payments you will receive (assuming you are not
       reemployed by the Government).


                         Age Table and Factors
Years Months Factor Years Months Factor Years Months Factor

40     3-5       1.025   48    6-8      1.850   56     9-11      2.675


40     6-8       1.050   48    9-11     1.875   57     0-2       2.700


40     9-11      1.075   49    0-2      1.900   57     3-5       2.725


41     0-2       1.100   49    3-5      1.925   57     6-8       2.750


41     3-5       1.125   49    6-8      1.950   57     9-11      2.775


41     6-8       1.150   49    9-11     1.975   58     0-2       2.800


41     9-11      1.175   50    0-2      2.000 58       3-5       2.825


42     0-2       1.200   50    3-5      2.025   58     6-8       2.850


42     3-5       1.225   50    6-8      2.050   58     9-11      2.875


42     6-8       1.250   50    9-11     2.075   59     0-2       2.900


42     9-11      1.275   51    0-2      2.100   59     3-5       2.925


43     0-2       1.300   51    3-5      2.125   59     6-8       2.950


43     3-5       1.325   51    6-8      2.150   59     9-11      2.975


43     6-8       1.350   51    9-11     2.175   60     0-2       3.000


43     9-11      1.375   52    0-2      2.200   60     3-5       3.025
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                       Age Table and Factors
Years Months Factor Years Months Factor Years Months Factor

44   0-2       1.400   52    3-5     2.225   60   6-8       3.050


44   3-5       1.425   52    6-8     2.250   60   9-11      3.075


44   6-8       1.450   52    9-11    2.275   61   0-2       3.100


44   9-11      1.475   53    0-2     2.300   61   3-5       3.125


45   0-2       1.500   53    3-5     2.325   61   6-8       3.150


45   3-5       1.525   53    6-8     2.350   61   9-11      3.175


45   6-8       1.550   53    9-11    2.375   62   0-2       3.200


45   9-11      1.575   54    0-2     2.400   62   3-5       3.225


46   0-2       1.600   54    3-5     2.425   62   6-8       3.250


46   3-5       1.625   54    6-8     2.450   62   9-11      3.275


46   6-8       1.650   54    9-11    2.475   63   0-2       3.300


46   9-11      1.675   55    0-2     2.50    63   3-5       3.325


47   0-2       1.700   55    3-5     2.525   63   6-8       3.350


47   3-5       1.725   55    6-8     2.550   63   9-11      3.375


47   6-8       1.750   55    9-11    2.575   64   0-2       3.400


47   9-11      1.775   56    0-2     2.600   64   3-5       3.425


48   0-2       1.800   56    3-5     2.625   64   6-8       3.450
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                      Age Table and Factors
Years Months Factor Years Months Factor Years Months Factor

48   3-5      1.825   56    6-8     2.650   64   9-11      3.475
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WHAT IS UNEMPLOYMENT INSURANCE (UI)?
Unemployment Insurance is a joint state-federal program that
                                                                           UI Benefits are Administered by
provides cash benefits to eligible workers. Each state administers
                                                                           States
a separate UI program, but all states follow the same guidelines
established by federal law.                                                To find information about your state’s
                                                                           program, including eligibility, benefits,
Unemployment insurance payments (benefits) are intended to                 and application information, visit our
provide temporary financial assistance to unemployed workers               Unemployment Insurance Service
who are unemployed through no fault of their own. Each state               Locator.
sets its own additional requirements for eligibility, benefit
amounts, and length of time benefits can be paid.

Generally, benefits are based on a percentage of your earnings over a recent 52-week period, and each state
sets a maximum amount. Benefits are subject to federal and most state income taxes and must be reported on
your income tax return. You may choose to have the tax withheld from your payment.

AM I ELIGIBLE?
Each state sets its own guidelines for eligibility for UI benefits, but you usually qualify if you:

        Are unemployed through no fault of your own. In most states, this means you have to have
         separated from your last job due to a lack of available work.
        Meet work and wage requirements. You must meet your state’s requirements for wages earned or
         time worked during an established period of time referred to as a "base period." (In most states, this is
         usually the first four out of the last five completed calendar quarters prior to the time that your claim is
         filed.)
        Meet any additional state requirements. Find details of your own state’s program by using our
         Unemployment Insurance Service Locator.

HOW DO I APPLY?
To receive UI benefits, you need to file a claim with the UI program in the state where you worked.

        You should contact your state's UI program as soon as possible after becoming unemployed. Find your
         state's program by using our Unemployment Insurance Service Locator and check with them to see if
         you should file a claim in person, by telephone, or online.
        Generally, you should file your claim with the state where you worked. If you worked in a state other
         than the one where you now live or if you worked in multiple states, the state UI agency where you now
         live can provide information about how to file your claim with other states.
        When you file a claim, you will be asked for certain information, such as addresses and dates of your
         former employment. To make sure your claim is not delayed, be sure to give complete and correct
         information.
        It generally takes two to three weeks after you file your claim to receive your first benefit check. Some
         states require a one-week waiting period; in other words, you would receive your first payment for the
         second week of your unemployment claim.

        Fact Sheet                                                                                                      1
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HOW DO I STAY ELIGIB LE?
Generally states require the following in order to maintain weekly eligibility:

       File weekly or biweekly claims, usually by mail or phone.
       Be able to work, available to work, and activly seek work each week you claim benefits.
       Report any earnings from work you had during the week(s). States have different rules for how much
        money you can earn while receiving benefits.
       Report any job offers or job offers you decline during the week.
       If requested, report to your local UI claims office or American Job Center on the scheduled day
        and time. Benefits may be denied for those who do not attend.
       Some states require registration for work with the State Employment Service, so it can assist you in
        finding employment.
       Meet any other state eligibility requirements.
You will find help in your job search at your local American Job Center. They have a variety of services free of
charge. Staff there can:
       Refer you to job openings in your area, or in other areas if you plan to relocate.
       Help with resume writing, interview practice, and other job search activities.
       Refer you to training programs.
       Some Centers offer testing and counseling to help you explore new careers.
       If you believe you have special needs or considerations, such as physical needs or other
        considerations, which may prevent you from getting a job, they can refer you to other agencies for
        help with those needs.

WHAT IF I AM DENIED?
Each state UI Program makes its own decisions about workers’ eligibility for benefits. There are many reasons
for denying benefit payments; some of the most common are:

       Voluntarily leaving work without good cause. Benefit payments can be paid if you quit under certain
        circumstances depending on your state's laws.
       Being discharged for misconduct connected with work. Misconduct is an intentional or controllable act
        or failure to take action, which shows a deliberate disregard of the employer's interests.
       Not being able or available for work. You must be able, ready and willing to accept a suitable job.
       Not actively seeking work.
       Refusing an offer of suitable work.
       Knowingly making false statements to obtain benefit payments.
If you are disqualified or denied benefits, you have the right to file an appeal. Your employer may also appeal a
determination if he/she does not agree with the state's determination regarding your eligibility. You must file
your appeal within an established time frame.




       Fact Sheet                                                                                                  2
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HOW LONG WILL MY BENEFITS LAST?
   In general, benefits are based on a percentage of an individual's earnings over a recent 52-week period -
   up to a State maximum amount.
       Benefits can be paid for a maximum of 26 weeks in most States.
       Additional weeks of benefits called Extended Benefits may be available during times of high
        unemployment (Some States also provide additional benefits for specific purposes).
       Benefits are subject to Federal income taxes and must be reported on the individual’s Federal income
        tax return. Or the individual may elect to have the tax withheld by the State Unemployment Insurance
        agency.
You can visit the Comparison of State UI Laws at https://oui.doleta.gov/unemploy/statelaws.asp#Statelaw for
additional information about the maximum weeks of entitlement and other state specific UI laws.




       Fact Sheet                                                                                              3
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            U.S. DEPARTMENT OF LABOR


Employment and Training Administration

State Workforce Agencies
A "State workforce agency" refers to the lead state agency responsible for administering programs under
chapter 2 or 3 of subtitle B of title I of the Workforce Innovation and Opportunity Act (WIOA) (29 U.S.C.
3161 et seq., 3171 et seq.). Enacted in 2014, WIOA is a signiﬁcant legislative eﬀort to enhance workforce
development in the United States. Its goal is to improve the quality and coordination of employment,
education, and training services for job seekers and employers. State workforce agencies are at the
forefront of implementing WIOA, playing a pivotal role in creating a robust and responsive workforce
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                                    AUTHORIZATION FOR RELEASE OF INFORMATION



                                                                  PRIVACY ACT STATEMENT

In compliance with the Privacy Act of 1974, the following information is provided: Basic authority to provide the
requested information is contained in 5 U.S.C 552a. This form is furnished for the purpose of obtaining information
about you and your activities in connection with CFPB concerning: (1) fitness for Federal and private sector
employment, (2) clearance to perform contractual services for the Federal Government or private sector, or (3) any
other legitimate law enforcement purpose within the scope of responsibilities exercised by the CFPB. Furnishing
the requested information is voluntary.



                                                                           AUTHORIZATION

I authorize CFPB by whom I have been employed or sought employment, any CFPB labor union of which I am or
have been a member, and BFS human resources/payroll department to release my employment, past or
present information, to include but not limited to employment applications, information pertaining to my wages,
position, performance, date of employment, attendance, eligibility for rehire, and other related matters. To provide
the requested employment information information to the any other federal agencies, private sector employers
human resources professionals, official requesting this release. This release of information will be used only for
official purposes by the CFPB and may be disclosed to third parties as necessary in accordance with applicable
laws and regulations in fulfillment of official responsibilities.

I release any individual or organization from any and all liability for actual or alleged damages to me as a result of
good faith compliance with this authorization.

Should you have questions on the validity or scope of this release, you may contact me as indicated below.




_________________________________                                                         ________________
(Print Name)                                                                              (Last 4 of SSN)




_________________________________                                                        _________________
(Signature)                                                                              (Date)




*Your Social Security Number is needed to keep records accurate, because other people may have the same name. Executive Order 9397 also asks Federal agencies to use this number to
help identify individuals in agency records.
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    U nited States O ffice of Personnel M anagement




          The Employee’s
      Guide to Career Transition
          (CTAP, ICTAP, RPL)




OPM.GOVMARCH 2017
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(1). Introduction
As the Federal Government continues to restructure and downsize, some employees may find
themselves having to "transition" to new jobs--sometimes even to occupations in the private
sector. Making major career changes, perhaps for the first time in many years, can be a
frightening and frustrating experience that raises many questions.

The Office of Personnel Management (OPM) recognizes the difficulties this kind of change can
bring. We developed this guide to inform and prepare you to take charge of your career. Your
transition is more likely to be successful if you see this as an opportunity to move to an exciting
new job or career in the Federal government or the private sector.

Background

During the 1990's, transition and placement in the Federal government underwent a dramatic
transformation. In 1995, OPM issued regulations requiring Executive Branch agencies to
provide career transition assistance to employees affected by downsizing or restructuring. These
agencies developed Career Transition Assistance Plans for their surplus and displaced
employees.

Agency Career Transition Assistance Plans (CTAPs)

Agency plans must consist of three parts:

       (1) Agency Career Transition Services

       Each agency provides career transition services to surplus employees, giving them skills and
       resources to help them find other employment. These services might include skills
       assessment, resume preparation, counseling, or job search assistance. Agencies must also
       develop policies on retraining their surplus employees.

       (2) Agency Special Selection Priority under the Career Transition Assistance Plan
           (CTAP)*

       Agencies must give selection priority to their own well-qualified surplus employees who
       apply for vacancies in agency components in the local commuting area. Agencies must
       notify their surplus or displaced employees when they plan to fill these jobs. With a few
       exceptions, the agency must select those who apply and are eligible and well qualified before
       any other candidate from within or outside the agency.



____________________________________________________________________________
OPM                 Employee’s Guide to Career Transition




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       (3) Agency Reemployment Priority Lists (RPL)

       Each agency must also maintain a Reemployment Priority List (RPL) for each local
       commuting area where it separates employees by reduction in force. Employees can register
       for the RPL to tell their former agency that they want to return if the agency has vacancies.
       Employees can register for their agency's RPL as soon as they receive a reduction in force
       (RIF) separation notice. Before the agency can select a candidate outside its workforce, it
       must first check the RPL for that location. With a few exceptions, the agency must select a
       qualified employee from the RPL before hiring anyone from outside the agency.

Interagency Career Transition Assistance Plan (ICTAP)

OPM also changed the way displaced Federal workers receive priority for jobs in other agencies
(besides the one they worked in before involuntary separation). In 1996, OPM suspended the
Interagency Placement Program (IPP) and replaced it with the Interagency Career Transition
Assistance Plan (ICTAP). The IPP was a centralized list of displaced employees referred by
OPM to hiring agencies. ICTAP is very different from the IPP and has placed more employees.
ICTAP is not a list--instead, employees must apply for positions in the local commuting area and
include proof that they were displaced. ICTAP gives an eligible, well-qualified employee
selection priority over almost any other applicant from outside the agency. Under ICTAP, for
example, a DOD employee with a RIF separation notice could apply for a competitive service
vacancy in the local commuting area at the Department of Education. In most cases, Education
must select this well-qualified person for the position before choosing another applicant from
outside the agency.

* Note to DoD Employees: The Department of Defense (DoD) does not provide agency
selection priority through CTAP. Instead, DoD uses the Priority Placement Program (PPP) to
help place its surplus employees. DoD also provides career transition services to its employees
to the extent possible. Displaced DoD workers can also register for their local RPL, and request
selection priority for jobs in non-DoD agencies using the ICTAP.


(2). Where Can I Go for More Information?
The rest of this Guide explains CTAP, ICTAP and RPL and how they work. Your human
resources office should have information on your agency's specific services and programs,
including agency career transition services, CTAP selection priority, and RPL. Agency human
resources representatives should also be able to answer your questions about ICTAP selection
priority.

OPM's website at www.opm.gov provides access to information on various human resources
____________________________________________________________________________
OPM                 Employee’s Guide to Career Transition




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topics, including lists of Federal job opportunities worldwide. You should also visit DOL's link
to state employment and retraining services at: www.careeronestop.org.

OPM has information on worldwide Federal job opportunities available at
www.usajobs.gov.


(3). Placement Priority--Reduction in Force (RIF) or Out-of-Area
Reassignment
(A). Selection Priority in Your Agency (CTAP)

CTAP is designed to improve your chances of finding a new job in your agency through
selection priority. OPM's regulations establish the minimum requirements agencies must meet in
providing their employees with transition services and selection priority for vacancies. Each
agency has a specific Career Transition Assistance Plan containing detailed information about
the agency's transition policies. Your human resources office should be able to explain the
specifics for your agency.

Note for Department of Defense (DoD) Employees: CTAP special selection priority does not
apply to DoD employees. DoD uses the Priority Placement Program (PPP) to help place its
surplus employees. You can get more information on the PPP from the DoD Civilian
Transition Programs Office at (478) 926-3706 or from their web site at
http://www.cpms.osd.mil/Subpage/Library. DoD also provides career transition services to its
employees to the extent possible. In addition to the PPP, displaced DoD employees can register
for their local RPL, and request selection priority for jobs in non-DoD agencies using the
ICTAP.

1. How do I get selection priority for vacancies in my agency?

       You must:

       •       be "surplus" or "displaced" (in other words, you must meet the definitions in either 2. or
               3. below);

       •       have a current performance rating of at least "fully successful" (Level III) or equivalent;




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       •       occupy a position in the same local commuting area of the vacancy;

       •       apply for a specific vacancy at or below your current grade level with no greater
               promotion potential than your current position;

       •       meet the application deadline in the announcement; and

       •       be found "well qualified" for the job.

2. What is a "surplus" employee?

       You are "surplus" if you:

       •       are in the competitive service**;

       •       are in tenure group I (career) or tenure group II (career-conditional); and

       •       have an official notice from your agency saying that your position is no longer needed.
               This notice could be:

                      ¾       a "Certificate of Expected Separation" (CES);
                      ¾       an agency certification that you are in a surplus organization or occupation;
                      ¾       a notice that your position is being abolished; or
                      ¾       a letter saying you are eligible for discontinued service retirement.

       ** Agencies can extend the definition of a "surplus" employee to include employees in the
       excepted service if they are on Schedule A or B appointments without time limit and have
       received an appropriate notice (see above). Selection priority for these employees is limited
       to other permanent Schedule A or B positions in the same agency and local commuting area.
       Note: Excepted Service employees are not eligible for selection priority in other agencies
       under the Interagency Career Transition Assistance Plan.

3. What is a "displaced" employee?

       You are "displaced" if you:

       •       are in the competitive service**;

       •       are in tenure group I (career) or tenure group II (career-conditional); and

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       •       have an official notice from your agency saying you will be separated by reduction in
               force. This notice could be:

                      ¾ a specific reduction in force separation notice; or
                      ¾ a notice of proposed removal because you declined a directed reassignment or
                        transfer of function out of the local commuting area.

               ** Agencies can extend the definition of a "displaced" employee to include employees in
               the excepted service if they are on Schedule A or B appointments without time limit and
               have received an appropriate notice (see above). Selection priority for these employees is
               limited to other permanent Schedule A or B positions in the same agency and local
               commuting area. Note: Excepted Service employees are not eligible for selection
               priority in other agencies under the Interagency Career Transition Assistance Plan.

4. Who is not eligible for selection priority?

       You are generally not eligible for selection priority if you are:

       •       in the excepted service (unless your agency gives special selection priority to excepted
               employees);

       •       downgraded or reassigned due to reduction in force, but not separated;

       •       in a different local commuting area from the vacancy;

       •       in a temporary or term position in the competitive service;

       •       in an agency that is not in the Executive branch;

       •       in an agency that does not follow OPM hiring procedures (this includes Postal Service,
               legislative and judicial branch agencies); or

       •       in the Senior Executive Service (SES).

5. I meet all the requirements for CTAP priority. How does this selection priority in my
   agency work?

       With few exceptions, if your agency plans to fill a vacancy in the local commuting area
       lasting more than 120 days, it must give CTAP eligibles the opportunity to apply. Agencies
       can advertise vacancies to surplus and displaced agency employees using OPM's USAJOBS,
       email, bulletin boards, etc. If you are interested in an advertised vacancy,
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       you must apply within the time frame given and attach proof of your CTAP eligibility (see
       below).

       If the agency finds you well qualified for the vacancy, you have priority over other
       candidates from within or outside your agency. If you are among two or more well-qualified
       CTAP eligibles, the agency may select any one of you. Agencies may select candidates from
       other agency components only after giving priority to eligible CTAP candidates within the
       component. An example of a component might be the National Park Service within the
       Department of the Interior. Check with your human resources office to see how your agency
       defines “component.”

6. When does my eligibility begin?

      Your eligibility beings when you receive one of these notices or documents:

       •       a reduction in force (RIF) separation notice;

       •       a notice of proposed removal for declining a directed reassignment or transfer of function
               to another local commuting area;

       •       a Certificate of Expected Separation (CES); or

       •       your agency's certification that you are in a surplus organization or occupation (this could
               be a position abolishment letter, a notice of eligibility for discontinued service retirement,
               or similar notice).

       Whichever notice or document you receive is your proof of eligibility for CTAP priority.

7. When does my eligibility expire?

       Your eligibility expires when:

       •       your agency separates you by RIF;

       •       you resign, retire or otherwise separate from the agency;

       •       your agency separates you for declining a directed reassignment or transfer of function to
               another local commuting area;

       •       your agency cancels or rescinds the notice that made you eligible;


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       •       you move to another position in the agency, time-limited or permanent, that is not
               affected by the RIF;

       •       you receive a career, career-conditional, or excepted service position without time limit
               in any agency; or

       •       you are no longer being separated by RIF.

8. What are the steps in the process?

       Step One: Application

       If you are eligible, you request CTAP selection priority by:

       1. applying for a vacancy in your agency in the local commuting area; and

       2. attaching proof of eligibility (for example: your RIF separation notice, CES, surplus
           notification, or notice of proposed removal). Make sure you attach any other
           documentation requested by the agency in the vacancy announcement.

       Step Two: Qualifications Review

       The agency reviews your application, comparing your background to the required
       qualifications, selective factors, knowledge, skills, abilities and competencies to determine if
       you are well qualified for the job. The agency must define "well qualified" on vacancy
       announcements so you know the criteria they are using.

       If your agency finds that you are not well qualified, they must conduct a second review of
       your application and tell you the results in writing.

       Step Three: Selection

       If your agency finds you well qualified for the vacancy, in most cases they must select you
       before hiring another candidate from either inside or outside the agency.

       If two or more well-qualified CTAP applicants request selection priority, the agency may
       choose among them. Some agencies have a specific policy on selection order (for example,
       they may always select "displaced" employees before "surplus" employees).

       If no well-qualified CTAP eligibles apply, the agency can fill the position through other
       means.

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9. What does "vacancy" mean?

       Under CTAP, a vacancy is a competitive service position lasting 121 days or more. It is a
       "vacancy" if the agency plans to fill the position, even if they originally intended to do so
       without posting a competitive announcement.

10. What is my “local commuting area”?

     Your local commuting area is based on the duty station of your position of record when you
     receive your notice. Agencies determine the local commuting area for jobs they announce. It
     is the geographic area usually considered a single area for employment purposes. It includes
     any population center and the surrounding localities where people live and routinely travel
     back and forth daily to their jobs. You can only get selection priority for vacancies
     announced in your local commuting area.

11. What does "well qualified" mean?

       "Well qualified" means that you:

       •       meet the qualification standards and eligibility requirements for the position, including
               any medical qualifications, suitability, and minimum educational and experience
               requirements;

       •       meet all selective factors;

       •       either meet quality ranking factor levels at the level set by the agency, or are rated above
               minimally qualified in accordance with the agency's specific rating and ranking process;

       •       are physically qualified, with reasonable accommodation where appropriate, to perform
               the essential duties of the position;

       •       meet any special qualifying condition(s) for the position (such as the ability to speak a
               specific language or other selective factor); and

       •       are able to satisfactorily perform the duties of the position upon entry.

       If your agency finds that you are not well qualified, they must conduct a second review of
       your application and tell you the results in writing.

12. Can "well qualified" vary between positions or agencies?
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       Yes. Each position has its own qualification requirements, selective factors, knowledge,
       skill, ability and competency requirements. Since each job is different, you should relate
       your background and experience directly to the position.

13. Can I get priority for higher-graded positions?

       No. Selection priority only applies to vacancies at your same (or a lower) grade, and with no
       higher promotion potential than your current position.

       You can still apply for jobs at higher grades or those with greater promotion potential, but
       you won't receive selection priority when you compete for those jobs.

14. What about lower-graded jobs?

       If you are thinking about applying for lower-graded jobs, you should ask your agency about
       its pay-setting policies. They could offer the job at a lower salary than you had before. Don't
       apply for a job you won't accept, because turning down any permanent offer may end your
       selection priority.

15. Is my priority limited to certain job series?

       No. You can apply for any position, but you only get selection priority if you are well
       qualified for the job.

16. I'm not sure whether I'm well qualified for a particular position. How can I find out?

       You can probably tell by reviewing the requirements in the vacancy announcement and
       comparing them to your credentials. If you are having trouble, ask your human resources
       office or career transition center for help in determining your qualifications.

17. What happens if I decline a job offer? Do I lose my eligibility?

       Your agency may end your selection priority if you apply for a permanent vacancy and are
       selected, but decline the offer. Check your agency's policies for specifics. If you decline a
       temporary or term position, you keep your selection priority for permanent positions until
       you separate or your eligibility ends for some other reason.

18. I am full-time, but I might apply for a part-time job. What happens if I accept?

   Accepting another position--even part-time--ends your eligibility for agency selection
   priority. As we said before, don't apply for a job you won't accept because turning down a
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       permanent position will end your selection priority.

19. If I take a temporary or term job, will I lose my CTAP eligibility?

       Yes. Accepting another position, even time-limited, means you are no longer faced with RIF
       separation, so you no longer get agency selection priority.

20. What if I accept a position outside the Federal Government? Am I still eligible for
   selection priority?

       Your eligibility for CTAP selection priority in your agency ends when you separate, whether
       you leave involuntarily (such as by RIF) or voluntarily (such as by resignation). However, if
       you separated involuntarily, you might still have selection priority in other agencies (see
       Section 3 (C) of the Guide).

21. What if I move? Am I eligible for selection priority for agency vacancies in a different
   geographic area?

       No, not unless your agency's policy expands the area for CTAP priority. You can still apply
       for jobs in your new location, but you will not receive selection priority for those jobs.

22. My agency says I wasn't well qualified for a job. I disagree. Where can I go with my
   complaint?

       Each agency should have a problem resolution coordinator to handle these types of
       situations. Ask your human resources office for the person or office to hear your grievance
       or complaint.

23. I am not eligible for CTAP selection priority. Is there are other assistance available to
   me?

       See Section 6 of this Guide for information on services that may be available to surplus or
       displaced employees. All employees, including those in the competitive, excepted, and
       Senior Executive Service (SES), are eligible for some type of career transition assistance or
       services.

       SES employees are eligible for placement assistance through a special SES placement
       program. If you are an SES employee facing RIF separation, check with your agency human
       resources office for information about this program.

   Agencies that do not follow OPM hiring procedures (this includes Postal Service, legislative
   and judicial branch agencies) are not required to provide career transition services to their
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       employees, but many still do. Consult your human resources office for details.

(B). Agency Reemployment Priority Lists (RPL)

Agencies must maintain a Reemployment Priority List (RPL) for competitive service employees
facing RIF separation, those who have already been RIF’d, and employees recovered from work-
related (compensable) injuries.

24. What is a Reemployment Priority List (RPL)?

       The RPL is a list agencies use to give reemployment priority to any career and career-
       conditional competitive service employees they separated by RIF or due to compensable
       injury. Under OPM regulations, each agency must establish an RPL for each local
       commuting area where competitive service employees have either been RIF’d or have
       recovered from work-related injury.

25. Can I get hiring preference in other agencies by getting on the RPL?

       No. The RPL only provides hiring priority for jobs in your current/former agency in the
       same local commuting area. It does not give you priority for jobs in any other agency. The
       ICTAP (see section 3(C) below) gives you selection priority for jobs in other agencies.

26. When am I eligible for the RPL? When does my eligibility expire?

       You can register for your agency's RPL when you receive either a specific reduction in force
       separation notice or a Certificate of Expected Separation (CES). You must have a rating of
       least a “minimally successful” or equivalent (Level II) for your current performance rating.

       You can also register if you separated more than one year ago due to a work-related injury,
       you have fully recovered, and your worker's compensation benefits have ended.

       The registration deadline is 30 calendar days after RIF separation, or 30 calendar days after
       worker’s compensation benefits terminate.

       Career (tenure group I) employees get two years of rehiring priority starting from the date
       your name is put on the agency RPL. Career-conditional (tenure group II) employees get one
       year of priority.

       Your eligibility also ends if you:

       •       ask the agency to remove your name from the RPL;

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       •       receive a career, career-conditional, or excepted service appointment without time
               limit in any agency;

       •       decline a permanent job offer at your current or former grade;

       •       decline an interview;

       •       don't respond to an offer or an availability inquiry, or fail to appear for a
               scheduled interview; or

       •       separate for some other reason (such as retirement or resignation) before the RIF
               date.

27. How do I apply for the RPL?

       Ask your agency for an RPL application form. You should specify the grade(s),
       occupation(s), minimum hours of work per week you would accept, and whether you are
       interested in temporary and/or term jobs.

       You can register for as many positions as you like. Your agency human resources specialist
       should help you determine which positions you qualify for and answer any questions you
       have about the RPL application.

28. Am I limited to certain series or grades?

       You can list any position on your application, but you only get priority for jobs you qualify
       for at the same (or lower) grade with no higher promotion potential than your current (or last)
       position.

       If you are thinking about listing lower-graded jobs, you should ask your agency about its
       pay-setting policies. They could offer a job at a lower salary than you had before. Don't list
       a job you don't think you would accept because turning down a permanent offer could limit
       or terminate your RPL consideration, depending on the grade level and type of offer.

29. When does the agency have to consider me through the RPL?

       You get priority when your agency fills competitive service jobs from outside its workforce.
       This includes temporary and term positions if you indicated interest in time-limited jobs on
       your RPL application.


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       If you qualify for the vacant job, your agency may not fill the position by:

       •       a new appointment (unless they appoint a veteran with at least 10-point hiring
               preference);

       •       transferring someone from another Federal agency; or

       •       reinstating a former Federal employee (unless they appoint someone with
               restoration or reemployment rights).

30. Can the agency fill positions without having to choose someone from the RPL?

       Yes, agencies may fill positions without considering RPL registrants under certain
       circumstances. These situations include:

       •       selecting someone from the agency’s current workforce;

       •       no qualified RPL registrants are available at the grade level of the position being filled;
               or

       •       filling the position through a 30-day special needs appointment, an appointment for
               persons with disabilities, or another excepted appointment.

(C). Selection Priority in Other Agencies (ICTAP)

31. Who is eligible?

        To receive selection priority in other agencies through the Interagency Career Transition
        Assistance Plan (ICTAP), your current or last position must be/have been career (tenure
        group I) or career-conditional (tenure group II) in the competitive service, and you must fall
        under one of these categories:

           •     RIF--you have been (or are being) involuntarily separated from an Executive branch
                 agency through reduction in force;

           •     Transfer of Function/Directed Reassignment--you have been (or are being) separated
                 under adverse action procedures because you declined a transfer of function or directed
                 reassignment to another local commuting area;

           •     Injury Compensation--you were separated due to work-related injury, your worker’s
                 compensation benefits have stopped because you recovered, and your former agency is
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                 unable to place you through its RPL (see Section 3 B of this Guide);

           •     Disability Annuitant--you retired with a disability and your annuity has been /will be
                 terminated because OPM considers you recovered;

           •     RIF--Retired--you received a RIF separation notice and elected either optional
                 retirement on the RIF effective date, or discontinued service retirement on or before the
                 RIF date;

        •       Military/National Guard Technician--you were a Military Reserve or National Guard
                Technician and now receive a special OPM disability retirement annuity.

32. I am in one of the categories you just described. How do I get selection priority for
    vacancies in other agencies?

       You must:

       •       have a current performance rating of at least "fully successful" (Level III) or
               equivalent*** ;

       •       occupy (or have been separated from) a position in the same local commuting area of the
               vacancy;

       •       apply for a specific vacancy at or below the grade level you are being (or have been)
               separated from that does not have greater promotion potential than your last position;

       •       meet the application deadline; and

       •       be found "well qualified" for the job.

        ***Note: This requirement does not apply if you qualify for ICTAP due to injury
       compensation or disability annuity.

33. Who is not eligible for selection priority?

       You are generally not eligible for selection priority if you are:

       •       in the excepted service (unless you are covered under a separate law that gave you
               ICTAP eligibility);

       •       downgraded or reassigned involuntarily, but not separated;
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       •       in a different local commuting area from the vacancy;

       •       in a temporary or term position in the competitive service;

       •       in an agency that is not in the Executive branch;

       •       in an agency that does not follow OPM hiring procedures (this includes Postal Service,
               legislative and judicial branch agencies); or

       •       in the Senior Executive Service (SES).

34. If I took a buyout, am I eligible for selection priority?

       Voluntary separation incentives, or buyouts, are given to employees who volunteer to leave
       the Federal service. Placement assistance is for employees who are involuntarily separated.
       So, if you retired or resigned with a buyout, you are not entitled to placement assistance.
       You can apply and compete for Federal jobs, but you would not receive selection priority--
       and you might have to pay back the full buyout amount if reemployed.

35. When does my eligibility begin?

       Your eligibility begins when you receive one of the following documents:

        •       a reduction in force (RIF) separation notice;

        •       a notice of proposed removal for declining a directed reassignment or transfer of
                function to another local commuting area;

        •       an OPM notice that your disability annuity has been (or will be) terminated;

        •       certification from your former agency that it cannot place you after your recovery from a
                compensable injury; or

        •       certification from the National Guard Bureau or Military Department that you are
                eligible for a disability retirement and will receive the special OPM annuity.

       Whatever notice you receive is your proof of eligibility for ICTAP priority.

36. When does my eligibility expire?

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       Your ICTAP eligibility expires:

       •       one year after your RIF separation;

       •       one year after your agency separates you for declining a directed reassignment or transfer
               of function to another local commuting area;

       •       one year after your agency certifies that they cannot place you after your recovery from a
               compensable injury;

       •       one year after you are notified that your disability annuity has been or is being
               terminated;

       •       when you receive a career, career-conditional, or excepted service position without time
               limit in any agency;

       •       when your agency cancels or rescinds your RIF or removal notice;

       •       if you move to another position, time-limited or permanent, before the RIF date;

       •       if you separate by resignation or non-discontinued service retirement before the RIF
               effective date; or

       •       with a specific agency, if you decline a permanent offer from that agency.

37. What are the steps in the process?

       When an agency plans to hire an outside candidate, they must post the vacancy on OPM's
       USAJOBS systems. The announcement will contain all requirements well qualified
       candidates must possess--selective factors, qualifications, education, knowledge, skills,
       abilities, and competencies. See the last section of this Guide for information on how to
       access USAJOBS.

       Step One: Application

       If you are eligible, you request ICTAP selection priority by:

       1. applying for a vacancy in the local commuting area; and

       2. attaching proof of eligibility (your RIF separation notice, notice of proposed removal for
           failure to relocate, notice of disability annuity termination, an SF-50--Notification of
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               Personnel Action--documenting RIF separation, agency certification of inability to place
               you through the RPL, etc.). Make sure you attach any other documentation requested by
               the agency in the vacancy announcement.

       Step Two: Qualifications Review

       The agency reviews your application, comparing your background to the required
       qualifications, selective factors, knowledge, skills, abilities, and competencies to determine if
       you are well qualified for the job. They must include their definition of "well qualified" on
       vacancy announcements so you know the criteria they are using.

       If the agency finds that you are not well qualified, they must conduct a second review of your
       application and tell you the results in writing.

       Step Three: Selection

       The agency must first select its own surplus or displaced employees under its Career
       Transition Assistance Plan (CTAP). If there are no well-qualified CTAP eligibles, the
       agency may fill the job from within its current workforce or select an employee from its
       Reemployment Priority List (RPL).

       After the agency clears its CTAP and RPL, they must consider ICTAP candidates before
       selecting most other outside candidates. If the agency finds you well qualified for the
       vacancy, in most cases they must select you before hiring another applicant from outside the
       agency.

       At any time during the recruitment process, the agency may choose not to fill the vacancy, or
       to select one of its own employees.

       If two or more well-qualified ICTAP applicants request selection priority, the agency may
       choose among them.

       If no well-qualified ICTAP eligibles apply, the agency is free to fill the position through
       other means.

38. Do I get priority for every Federal job?

       No, there are some exceptions. Under ICTAP, you may request selection priority for
       vacancies that are:

       •       in the local commuting area;

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       •       in any Executive Branch agency (Note: the Postal Service, courts, etc., are NOT
               Executive Branch agencies);

       •       at or below your current (or last) grade level, with no greater promotion potential
               than the position from which you were (or are being) separated; and

       •       being filled from outside the agency’s workforce.

39. When can an agency fill a position without having to select an ICTAP eligible?

       Well-qualified ICTAP eligibles have priority over most other candidates from outside the
       agency. Agencies must give ICTAP eligibles priority before filling a competitive service
       position through competitive examining, noncompetitive appointment, transfer, or
       reinstatement.

       There are situations where agencies can fill positions without selecting a well-qualified
       ICTAP eligible. These exceptions include: vacancies lasting less than 121 days;
       reemployment of former agency employees with reemployment rights; employees moved due
       to formal reorganization or transfer of function; selection of internal agency employees;
       appointments of veterans with 10 point or greater hiring preference; and conversions of
       specific excepted appointments.

40. What does "local commuting area" mean?

       Local commuting area is defined in the CTAP section of this Guide (section 3 (A), Question
       10).

41. What does "well qualified" mean?

       "Well qualified" is defined in the CTAP section of this Guide (section 3 (A), Question 11).

42. Can I get priority for higher graded positions?

       No. Selection priority applies only to vacancies at your same (or lower) grade and with no
       greater promotion potential than your current or last position.

       You can apply for jobs at higher grades or with greater promotion potential, but you won't
       receive selection priority when you compete for those jobs.

43. What about lower-graded jobs?


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       If you are thinking about applying for lower-graded jobs, you should ask the agency about its
       pay-setting policies. They could offer the job at a lower salary than you had before. Don't
       apply for a job you won't accept, because turning down any permanent offer may end your
       right to selection priority, at least with that agency.

44. Is my priority limited to certain job series?

       No. You can apply for any position, but you only get selection priority if you are well
       qualified for the job.

45. I'm full-time, but I might apply for a part-time job. What happens if I accept?

       Accepting any permanent position--even part-time--ends your selection priority. As we said
       before, don't apply for a job you won't accept because turning down any permanent offer may
       end your selection priority with that agency.

46. If I take a temporary or term job, do I lose my selection priority?

       It may depend on when you accept the position. If you receive a separation notice, but
       accept a temporary or term job before the involuntary separation occurs, your selection
       priority ends because you are no longer being involuntarily separated. However, if you
       accept a temporary or term job after your involuntary separation, you still have selection
       priority for permanent jobs. If you receive a career, career-conditional, or excepted
       appointment without time limit in any agency, your selection priority ends. Before accepting
       any employment offer, permanent or time-limited, you should check with a human resources
       specialist about the effect it would have on your eligibility.

47. What if I accept a position outside of the Federal Government? Am I still eligible for
   selection priority?

       If you resign or retire before RIF or other involuntary separation, you lose your ICTAP
       eligibility. Otherwise, accepting employment outside the Federal Government after
       involuntary separation does not affect your ICTAP eligibility. You can continue to request
       ICTAP priority when applying for Federal jobs for one year after your separation, or until
       you accept a permanent Federal position, whichever comes first.

48. What if I move? Am I eligible for selection priority for Federal vacancies in a different
   geographic area?

   No, ICTAP selection priority only applies in the local commuting area from which you were
   (or are being) separated. You can apply for jobs in your new location, but you will not
   receive selection priority for them.
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49. I applied for a job, but the agency says I am not well qualified for it. I disagree. Where
   can I go with my complaint?

       Each agency should have a problem resolution coordinator to handle these types of
       situations. Ask the human resources office for the person or office to hear your grievance or
       complaint.

50. I’m not eligible for ICTAP selection priority. Is there are other assistance available to
   me?

       See Section 6 of this Guide for information on services that may be available to surplus or
       displaced employees. All employees, including those in the competitive, excepted, and
       Senior Executive Service (SES), are eligible to receive some type of career transition
       assistance or services.

       SES employees are eligible for placement assistance through a special SES placement
       program. If you are an SES employee facing RIF separation, check with your agency human
       resources office for more information about this program.

       Agencies that do not follow OPM hiring procedures (this includes Postal Service, legislative
       and judicial branch agencies) are not required to provide career transition services to their
       employees, but many still do. Consult your human resources office for details.


(4). Reemployment after Disability or Injury
(A). Reemployment after Recovery from Job-Related Injury

Career or career-conditional competitive service employees who left the Government due to job-
related illness or injury, were eligible for Workers’ Compensation benefits (OWCP), and
recovered within one year, are eligible for immediate restoration to their former agency. You
should contact your former agency’s human resources office to request restoration.

If it has been more than one year since you left with OWCP benefits, you may be eligible for
your former agency’s Reemployment Priority List (RPL). You must apply for the RPL within 30
days of the date your workers’compensation benefits end. If your agency is unable to place you
in your former job or local commuting area, you may be entitled to broader consideration for
other jobs and/or locations.

For general information on the RPL, read section 3(B) of this Guide.
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If your former agency is unable to place you through their RPL (for example, the types of jobs
you are qualified to do no longer exist in the agency), you may be eligible for ICTAP selection
priority. This will allow you to request priority for jobs in other agencies in the local commuting
area you were in when you separated. You must ask your former agency to certify that they
cannot place you through the RPL. This certification is your proof of ICTAP eligibility and you
must submit it with all job applications. Your ICTAP eligibility ends one year from the date of
the agency’s certification. You are not required to include your current or last performance
appraisal. For more information on ICTAP, see section 3(C) of this Guide.

(B). Reemployment after Termination of Disability Annuity

Former employees who retired with a disability may lose their annuity if they exceed earnings
limitations or have medically recovered. If OPM’s Retirement Office notifies you that your
annuity has been or will be terminated, you should first check with your former agency to see if
they can re-employ you. You can also request ICTAP selection priority for jobs in agencies
other than your former agency if you retired as a career or career-conditional employee in the
competitive service. Your ICTAP priority is limited to jobs in the local commuting area you
were in when you separated. Your annuity termination notice from OPM is your proof of
ICTAP eligibility and you must submit a copy of it with all job applications. Your ICTAP
eligibility ends one year from the date of the notification. You are not required to include your
current or last performance appraisal. For more information on ICTAP, including eligibility
requirements, see section 3(C) of this Guide.

(C). Former Military Reserve/National Guard Technicians Receiving Special
Disability Annuity

Career or career-conditional competitive service employees receiving a special disability annuity
from OPM as a former Military Reserve Technician or National Guard Technician are eligible
for ICTAP selection priority. This allows you to apply for jobs in other agencies besides your
former agency in the local commuting area you were in when you separated. The special
disability annuity notice is your proof of ICTAP eligibility and you must submit a copy of it with
all job applications. Unlike other ICTAP eligibles, your selection priority does not have a one-
year time limit. You need not include the current or last performance appraisal required for
other ICTAP candidates. For more information on ICTAP, see section 3(C) of this Guide.


(5). Veterans in Certain Positions
Preference eligible veterans displaced from “restricted” Federal positions due to "A-76
contracting out" (outsourcing under Office of Management and Budget Circular A-76
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procedures), may be eligible for selection priority under ICTAP. “Restricted” positions include
Custodians, Elevator Operators, Guards, and Messengers. Specific regulations covering these
veterans are in title 5, Code of Federal Regulations, Part 330, Subpart D. The Code of Federal
Regulations is available through the Government Printing Office web site at
http://www.ecfr.gov.

This ICTAP eligibility lasts two years from the date of the separation. All other ICTAP
provisions are the same. For more information on ICTAP, read section 3(C) of this Guide.


(6). Career Transition Services
51. What types of services are available to me to help me find another job?

       Ask your agency what services it offers. Depending on employees' needs and budget
       constraints, agency services will vary. Some examples of career transition services include:
       skills assessment, resume and cover letter preparation, networking and interviewing
       techniques, counseling, job search assistance, and retraining (if necessary).

52. When am I eligible to use agency career transition services? When does this eligibility
   expire?

       Career transition services are available to surplus or displaced employees. You can use these
       services until separation. Some agencies also provide services after separation.

53. How will these services help me find another job, including employment in the private
   sector?

       Career transition services can be valuable. Agency services can help you develop or improve
       your resume--the most widely used tool in both public and private sector employment. They
       can help you locate job opportunities through State and local government employment
       information services. Agencies can also help you practice interviewing techniques and
       conduct skills assessments to help identify occupations best suited to your talents.

54. Besides my agency, are there other services available to me?

       You can visit DOL's link to state employment and retraining services at:
       www.careeronestop.org . This page provides a link to resources established
       under the Workforce Investment Act of 1998 including re-training, career counseling, and other
       local, state-run services available to you.


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(7). Job Information
55. How do I find out about other Federal vacancies?

       Job seekers can find out about Federal career opportunities on USAJOBS at
       www.USAJOBS.gov

       USAJOBS provides Federal employment information and access to current job
       opportunities across the world each day. On the site, you can search and apply for
       jobs, create saved search notifications and check the status of your recently submitted job
       applications. The USAJOBS Help Center provides information on Federal employment,
       unique hiring paths, and how to apply for Federal positions. The USAJOBS Resume Builder
       will help you to create online resumes specifically designed for Federal jobs.


56. How do I find out about vacancies in State and local Governments or the private sector?

       Your agency's career transition center will have information on local job information
       networks which can help you locate employment in your particular area.

         For more information on training or retraining opportunities, contact your local State
         employment services department and ask about training/retraining possibilities under the
         Workforce Investment Act of 1998. The U.S. Department of Labor administers a dislocated
         worker program to assist laid off workers who are unlikely to return to their previous
         industry or occupation. The dislocated worker program authorizes a wide range of services
         to help individuals obtain meaningful re-employment. These services may include
         assessments of skills and interests, job development, counseling, job search assistance, career
         exploration, and occupational skills retraining, like computer training. States and local
         substate grantees decide on the particular mix and availability of services. The program is
         funded by U.S. Department of Labor, Employment & Training Administration. The web site
         address is www.doleta.gov.




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(8). Glossary of Terms
An agency that does not follow OPM hiring procedures: Any agency exempt from title 5, United
States Code, the law covering certain government organizations and employees. This includes
legislative and judicial branch agencies as well as the Federal Aviation Administration, U.S.
Postal Service, General Accounting Office, Tennessee Valley Authority, Federal Bureau of
Investigation, Central Intelligence Agency, State Department's Foreign Service, Federal Reserve
System-related agencies, and others.

Agency component: The first major subdivision of the agency, separately organized and clearly
distinguished from other components in work function and operation. An example of a
component might be the National Park Service within the Department of the Interior. Each
agency decides what is or is not a “component” within their particular agency organizational
structure.

Competitive Service: Executive branch positions covered by civil service merit system laws.
These jobs are normally filled through an open competitive civil service examination (but this
does not necessarily mean taking a test). You should be able to tell from your Standard Form 50
(Notification of Personnel Action), block 34, if your position was/is in the competitive service.

Displaced Employee: See question 3 (section 3(A)).

Excepted Service: Civil service positions specifically excluded from the competitive service by
law, executive order, or OPM action. These jobs are usually not covered by the same
hiring/appointment, pay, and classification rules as competitive service jobs. Excepted service
positions include attorneys, most security/intelligence positions, and most student appointments.




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Executive Branch: Agencies under the direct authority of the President of the United States.
These include Cabinet level agencies such as the Departments of Defense, Justice,
Transportation, Energy, Education, Health and Human Services, Agriculture, Interior, etc., and
smaller agencies such as the Office of Personnel Management, National Aeronautics and Space
Administration, Small Business Administration, etc. The Senate, House of Representatives and
the Library of Congress are part of the Legislative Branch, and all U.S. courts are part of the
Judicial Branch.

Local Commuting Area: See question 10 (section 3(A)).

Promotion Potential: Also sometimes called a "career ladder." This is the highest grade or level
of work established for a position. A person selected for a GS-5 position with promotion
potential to the GS-12 can be promoted to each intervening grade level from GS-5 to GS-12 as
his/her knowledge and experience increases without competing with others. The position
description and job announcement should indicate the position's promotion potential, if any.

Surplus Employee: See question 2 (section 3(A)).

Ten point veterans' preference eligible: Applicants can receive extra points (preference) in hiring
if their armed forces service meets certain requirements. Only veterans with a service-connected
disability (and the widows, mothers or spouses of certain deceased or disabled veterans) are
generally eligible for 10 point veterans' preference.

Vacancy: See question 9 (section 3(A)).

Well-Qualified: See question 11 (section 3(A)).




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                             U.S. Office of Personnel Management
                             Employee Services
                             1900 E Street, NW, Washington, DC 20415

                             OPM.GOV




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Position Title
Government Information Specialist
Policy Analyst (Consumer Protection)
Examination Spec (Comp Tech Analyst)
Supervisory Examiner, Field Manager
Examiner
Investigator (Consumer Outreach)
Examiner
Facility Operations Specialist
Operations Specialist
Examiner
Attorney-Adviser
Examiner
Senior Advisor
HR Specialist (Performance Management)
Sct Chf, Disability & Access. Prgm
IT Specialist (APPSW)
Supervisory Administrative Officer
Supervisory Administrative Officer
Supervisory Administrative Officer
Information Tech Specialist (Information Security)
Commissioned Compliance Examiner
Program Manager
IT Specialist
Supvy HR Spec (Stff, Clss, Int Plcmnt)
Management and Program Analyst
Mgmt & Program Analyst (Info Systems)
Examiner
Examiner
Examiner
Examiner
Human Resource Specialist(Recruitment)
Examiner
Management & Program Analyst
Examiner
Examiner
Examiner
Examiner
Executive Assistant
Reasonable Accommodation Prog Manager
Supervisory Mgmt. and Program Analyst
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Consumer Experience Program Manager
Operations Analyst
Supervision Policy Analyst
Examiner
Examiner
IT Specialist (INFOSEC)
Senior Business Consultant
Examiner
Management and Program Analyst
Administrative Officer
Operations Analyst
Examiner
Information Technology Specialist (DATAMGT)
Attorney Advisor
Staff Dir, Stakeholder Management
Examiner
Program Dir, (Supv Learning & Devel)
Supervision Qual Mgmt Prog Team Lead
Senior Advisor for Complaint Policy
Finance and Policy Analyst
Mgmt & Program Analyst (Info Systems)
Examiner
Examiner
Attorney-Adviser (General)
Examiner
Examiner
Sr Advisor to the CEE Dep Assc Dir.
Economist
IT Specialist (INET)
Paperwork Reduction Act Officer
Suprvsry IT Specialist (Info Security)
Examiner
Supervisory Examiner, Field Manager
Prgm Dir (Supervision Mgmt Strategy)
Attorney-Adviser (General)
Examiner
Supervisory Attorney Advisor
Examiner
Administrative Officer
Examiner
Examiner
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Senior eLaw Litigation Support Specialist
Contracting Officer's Representative
Senior eLaw Litigation Support Specialist
Outreach and Engagement Associate
Commissioned Compliance Examiner
Examiner
Examiner
Commissioned Compliance Examiner
Supervisory Examiner
Senior Advisor (DEIA)
IT Project Manager
Consumer Financial Protection Analyst
Supervisory Examiner, Field Manager
Information Technology Specialist (Applications Software)
Examiner
Examiner
Training Specialist
Senior Investigator
Supervisory Examiner, Field Manager
Supervisory Manag. and Prog. Analyst
Commissioned Compliance Examiner
Examiner
Commissioned Compliance Examiner
Office Operations Assistant
Senior Quality Assurance Monitor
IT Specialist (Information Security)
Consumer Response Specialist
IT Specialist (NETWORK)
Operations Analyst
IT Specialist (INFOSEC)
IT Specialist (INFOSEC)
Human Resource Specialist(Recruitment)
Instructional Systems Designer
Consumer Response Specialist
Physical Security Specialist
Management and Program Analyst
Policy Analyst and Outreach Specialist
Travel Specialist
HR Specialist (Labor Relations)
Examiner
Examination Spec (Comp Tech Analyst)
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Management and Program Analyst
Supervisory Public Affairs Specialist
Supervisory IT Specialist
Operations Program Analyst
Examiner
Public Affairs Specialist
Administrative Operations Assistant
Program Administration Lead
Examination Spec (Comp Tech Analyst)
Complaint Process QA Mgr
Quality Monitor (Stakeholder Services)
Management and Program Analyst
Attorney-Advisor (General)
Examiner
Supervisory Examiner, Field Manager
HR Specialist (Compensation)
Attorney-Advisor (General)
Attorney-Adviser
Deputy Assistant Director, Office of Procurement
Consumer Financial Protection Analyst
Consumer Financial Protection Analyst
Examiner
Commissioned Compliance Examiner
Attorney-Adviser (General)
Examiner
Examiner
Attorney-Adviser (General)
Examiner
Examiner
Examiner
Examiner
Examiner
Attorney-Advisor (General)
Management & Program Analyst (Examinations)
Attorney-Advisor (General)
Examiner
Supervisory Attorney Adviser
Attorney-Advisor (Senior EEO Advisor)
Contracting Officer's Representative
Policy Analyst
Deputy Chief Financial Officer
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Supervisory Attorney-Adviser
Program Manager (Quality)
Attorney-Advisor (General)
Program Manager (Quality)
Information Technology Specialist (DATAMGT)
Examiner
Quality Monitor (Stakeholder Services)
Examiner
Sup Examiner, Asst. Regional Dir
Statistician
HR Specialist (Compensation)
Sup Examiner, Asst. Regional Dir
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Financial Analyst
Examiner
Commissioned Compliance Examiner
Operations Analyst
Attorney-Adviser
Administrative Specialist
Attorney-Adviser
Consumer Experience Program Manager
Supervisory Administrative Officer
Deputy Chief of Staff
Reg Implementation&Guidance Prog Anal
Outreach and Engagement Associate
Financial Analyst
Finance and Policy Analyst
Older Americans Project Support and Impact Specialist
Finance and Policy Analyst
Older Americans Policy Analyst
Finance and Policy Analyst
Attorney-Adviser
Finance and Policy Analyst
Deputy Executive Secretary
Supervisory Examiner, Field Manager
Supervisory Attorney-Adviser (General)
Attorney-Adviser
Quality Monitor (Stakeholder Services)
Business Product Manager
Executive Assistant
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Examiner
Examiner
IT Specialist (INET)
Management and Program Analyst
Reasonable Accommodation Program Coord
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Deputy Chief Administrative Officer
Realty Officer
Supervisory Examiner, Field Manager
Management and Program Analyst
Policy Analyst
Travel Specialist
Strategic Planning Manager
Sup Mngmnt and Program Analyst
Associate Executive Secretariat
Travel Specialist
Operations Analyst
Consumer Financial Protection Analyst
Supervisory IT Specialist (Data MGT)
Senior Advisor
Management and Program Analyst
Consumer Educ & Engagement Prog Adv
Attorney - Adviser (General)
Consumer Financial Protection Analyst
Supervisory Examiner, Field Manager
Examiner
Supervisory Examiner
Administrative Operations Ass.
Operations Assistant
Supervisory IT Specialist
Economist
Attorney-Advisor (General)
Management and Program Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Acquisition Support Specialist
Program Analyst
Attorney-Adviser
Cnsmr Fin Prtctn Analyst (Regsrt)
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Attorney-Advisor (General)
Economist
Attorney-Advisor (General)
Economist
Examiner
Economist
Economist
Examiner
Attorney-Advisor (General)
Outreach Specialist
Attorney-Advisor
Senior Program Manager (Markets)
Policy Analyst
Consumer Financial Protection Analyst
Administrative Operations Assistant
Economist
Senior Business Consultant
Attorney-Advisor (General)
Policy Analyst (Stakeholder Engage.)
Attorney-Advisor (General)
Attorney-Adviser
Attorney-Advisor (General)
Interdisciplinary Economist
Attorney-Adviser
Attorney-Advisor (General)
Attorney-Adviser
Financial Analyst
Attorney-Adviser
Supervisory Attorney-Adviser
Consumer Financial Protection Analyst
Attorney-Adviser
Supervisory Attorney-Adviser (General)
Attorney-Advisor (General)
Economist
Attorney-Adviser
Supervisory Attorney-Adviser
Attorney-Adviser
Interdisciplinary Economist
Cnsmr Fin Prtctn Analyst (Regsrt)
Economist
Consumer Financial Protection Analyst
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Program Director for Operations
Economist
Attorney-Adviser
Consumer Financial Protection Analyst
HR Specialist (Labor Relations)
Senior Business Consultant
Attorney-Advisor (General)
Supervisory Examiner, Field Manager
Information Technology Specialist (INET)
Attorney-Advisor (General)
Supervisory Examiner
Attorney-Advisor (General)
Attorney-Advisor (General)
Multimedia and Visual Design Specialist
ITSPEC (INFOSEC)
IT Specialist (INET)
IT Specialist (INET)
Contracting Officer's Representative
Examiner
Examiner
Examiner
Examiner
Administrative Specialist
Examiner
Attorney-Advisor (General)
Training Specialist
Attorney-Advisor (General)
Supervisory Examiner, Field Manager
Attorney-Advisor (General)
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Attorney-Adviser (General)
IT Specialist (INET)
Senior Business Consultant
Program Manager for Strat Initiatives
Supervisory Examiner, Field Manager
Sup Mngmnt and Program Analyst
Strategic Ops & Product Mngmnt Advsr
Program Analyst
Program Analyst
IT Specialist (APPSW)
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Attorney-Adviser (General)
Attorney-Adviser (General)
Consumer Response Spec (Investigation)
Attorney-Adviser (General)
Attorney-Advisor (General)
Supervisory Examiner
Attorney-Advisor (General)
Contracting Officer's Representative
Attorney-Adviser (General)
Supervisory Examiner
Attorney Advsr (Enforcement Attorney)
IT Specialist (INET)
Supervisory Examiner, Field Manager
IT Specialist (INET)
Examiner
IT Specialist (INET)
Examiner
IT Specialist
Commissioned Compliance Examiner
IT Specialist
Commissioned Compliance Examiner
Information Technology Specialist (Applications Software)
IT Specialist (INET)
Consumer Financial Protection Analyst
Attorney-Adviser
Supervisory Examiner, Field Manager
Sup Attorney-Adviser (Gen)
Sup Attorney-Adviser (Gen)
Sup Attorney-Adviser (Gen)
HR Specialist (Employee Benefits)
Sup Attorney-Adviser (Gen)
IT Specialist (APPSW)
Supervisory Attorney-Adviser (General)
Operations Support Assistant
Supervisory IT Specialist (APPSW)
Sup Attorney-Adviser (Gen)
IT Specialist (DATAMGT)
IT Specialist (APPSW)
Sup Attorney-Adviser (Gen)
Examiner
Sup Attorney-Adviser (Gen)
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IT Specialist (APPSW)
Policy Analyst
Regional Office Operations Analyst
Regional Office Operations Analyst
Regional Office Operations Analyst
Management and Program Analyst
Sup Learning & Dvlpmnt Prgrm Spec
Supervisory Visual Info Specialist
Supervisory, IT Specialist
IT Specialist (INFOSEC)
Outreach and Engagement Specialist
Supervisory IT Specialist (Internet)
Operations Analyst
Management & Program Analyst
IT Specialist
Human Resources Specialist (Human Resources Development)
Personnel Psychologist
IT Specialist (CUSTSPT)
Com Affairs Program Spec
Supervisory IT Specialist
Examiner
Examiner
Examiner
Supervisory IT Specialist
Examiner
IT Specialist (APPSW)
Examiner
Examiner
IT Specialist (INFOSEC)
Supervisory IT Specialist
Commissioned Compliance Examiner
Examiner
Examiner
Examiner
Supervisory IT Specialist (INFOSEC)
IT Specialist (INFOSEC)
Examiner
Examiner
IT Specialist (APPSW)
IT Specialist (Information Security)
IT Program Manager
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IT Specialist (APPSW)
Examiner
Supervisory IT Specialist
Examiner
Examiner
IT Specialist (APPSW)
Examiner
IT Specialist (APPSW)
Supervisory Administrative Officer
Supervisory Administrative Officer
Supervisory IT Specialist
Supervisory Administrative Officer
Supervisory IT Specialist
Supervisory Administrative Officer
Examiner
Economist
Supervisory IT Specialist (INFOSEC)
Sen Human Resources Spec
Examiner
Operations Program Analyst
Senior Policy Analyst
Sr Outreach and Engagement Specialist
Examiner
Examiner
Operations Program Analyst
Public Affairs Specialist
Content Strategist
Content Associate
Staff Director, Digital Communications
Operations Specialist
Examiner
Deputy Associate Dir, External Affairs
Training Specialist
Public Affairs Specialist
Senior Policy Analyst
Operations Program Analyst
Program Analyst
Attorney-Adviser (General)
Supervisory Attorney-Advisor
Examiner
Examiner
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Examiner
Operations Program Analyst
IT Specialist (INFOSEC)
IT Specialist (INFOSEC)
Community Affairs Outreach Specialist
Community Affairs Outreach Specialist
Examiner
Examiner
Paralegal Specialist
Mgmt. & Prog. Analyst (Enforcement)
IT Specialist (INFOSEC)
Management & Program Analyst
Management & Program Analyst
Examiner
Human Resources Specialist
HR Specialist (Student Programs)
Attorney-Adviser (General)
Attorney Advisor (Enforcement Attorney)
Consumer Financial Protection Analyst
Examiner
Examiner
Commissioned Compliance Examiner
Consumer Financial Protection Analyst
Attorney-Adviser (General)
IT Specialist (INFOSEC)
Sup Examiner, Asst. Regional Dir
Examiner
Training Specialist
Examiner
Examiner
Examiner
Sup Examiner, Asst. Regional Dir
Examiner
Administrative Specialist
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Sup Examiner, Asst. Regional Dir
Examiner
Commissioned Compliance Examiner
Supervisory IT Specialist (INFOSEC)
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Examiner
Government Information Specialist
Interdisciplinary Economist
Attorney-Adviser
Operations Support Assistant
Attorney-Adviser
Program Analyst
Government Information Specialist
Examiner
Sup Examiner, Asst. Regional Dir
Examiner
Government Information Specialist
Examiner
Examiner
Attorney-Adviser
Commissioned Compliance Examiner
Examiner
Administrative Officer
IT Specialist (APPSW)
Acquisition Support Specialist
Records and Info Management Spec
IT Specialist (DATAMGT)
IT Specialist (DATAMGT)
Attorney-Advisor
Compliance Investigator
Records and Info Management Spec
Examiner
Supervisory Attorney-Adviser
Examiner
Supervisory Attorney Adviser
Examiner
Government Information Specialist
Cons Financial Protection Comp Analyst
Senior eLaw Litigation Support Specialist
Deputy Chief Information Officer
Examiner
Examiner
Talent Development Manager
Examiner
Management and Program Analyst
Examiner
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Talent Management Program Manager
Commissioned Compliance Examiner
Chief, Int Communications Strategy
Sr Emp Comm & Change Mgmt Specialist
Public Affairs Specialist
Sup Examiner, Asst. Regional Dir
Senior Operations Analyst
Attorney-Adviser
Senior Operations Analyst
Consumer Financial Protection Analyst
Examiner
Supervisory Examiner, Field Manager
Commissioned Compliance Examiner
Examiner
Commissioned Compliance Examiner
Commissioned Compliance Examiner
IT Specialist (DATAMGT)
Examiner
IT Specialist (DATAMGT)
Commissioned Compliance Examiner
Program Analyst (Data Analytics)
IT Specialist
Examiner
IT Specialist (Data Management)
Supervisory Examiner, Field Manager
Sr Advsr to the Dpty Chf Oprting Offcr
Sr Advisor - Chief Operating Officer
Operations Specialist
Administrative Operations Assistant
Chief of Litigation Technology
Senior eLaw Litigation Support Specialist
Examiner
Examiner
Supervisory Examiner
HR Specialist (Emp Benf & WorkLife)
Human Resources Specialist (Benefits and Retirement)
Human Resources Specialist (Benefits and Retirement)
Examiner
Supervisory Examiner, Field Manager
Supervisory Examiner
Ombudsman Analyst
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Deputy Ombudsman
Associate Ombudsman
Government Information Specialist
IT Specialist (OS)
Supervisory Government Info Specialist
Human Resources Specialist (Work/Life Programs)
IT Specialist
Examiner
Examiner
IT Specialist (INFOSEC)
Examiner
Examiner
Senior Financial Program Specialist
Examiner
Government Information Specialist
Paralegal Specialist
Examiner
Paralegal Specialist
Examiner
Examiner
Commissioned Compliance Examiner
Examiner
Examiner
Government Information Specialist
Paralegal Specialist
IT Project Manager
Attorney-Advisor
Attorney-Advisor
Examiner
Assistant Director, Community Affairs
Senior Advisor
Executive Assistant
Supervisory Examiner, Field Manager
Senior eLaw Litigation Support Specialist
Supervisory Examiner, Field Manager
Senior eLaw Litigation Support Specialist
Contract Specialist
Contract Specialist
Facilities Quality Assurance Specialist
Supervisory Investigator
Supervisory Investigator
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Senior Investigator
Sup Examiner, Asst. Regional Dir
Senior Investigator
Sup Examiner, Asst. Regional Dir
Senior Investigator
Senior Investigator
Senior Investigator
Investigator (Consumer Outreach)
Auditor
Auditor
Senior Investigator
Investigator (Consumer Outreach)
Supervisory Examiner, Field Manager
Events Management Lead
Diversity & Inclusion Program Analyst
Diversity & Inclusion Program Analyst
Snr Diversity & Inclusion Pgrm Analyst
Diversity and Inclusion Program Analyst
Attorney-Adviser (General)
Information Technology Specialist (Applications Software)
Information Technology Specialist (Applications Software)
Senior Outreach & Engagement Spec.
Information Technology Specialist (Applications Software)
IT Specialist (APPSW)
IT Specialist (APPSW)
IT Specialist (APPSW)
IT Specialist (APPSW)
IT Specialist (APPSW)
IT Specialist (APPSW)
Engagement and Outreach Specialist
Information Technology Specialist (Applications Software)
Examiner
Sprvsr IT Spclst Plcy Plning Inf Scrty
Attorney-Adviser (EEO)
Attorney Advsr (Enforcement Attorney)
Attorney Advsr (Enforcement Attorney)
Attorney Advsr (Enforcement Attorney)
Attorney Advsr (Enforcement Attorney)
Consumer Response Investigations Team Lead
Dir of Strat, Arch, Governance, and Op
Supervisory Economist
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Supervisory Economist
Contract Specialist
Contract Specialist
IT Specialist
IT Specialist
Program Analyst
Supvy HR Specialist (Labor Relations)
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Sr Program Manager (Complaint Policy)
Financial Education Content Specialist
Supervisory Manag and Program Analyst
Financial Well-Being Program Specialist
Staff Director
Financial Ed Program Mgr (Pub & Dis)
Sr. PM for CCO & Stakeholder Services
Senior Financial Education Content Specialist
Senior Policy Analyst, Consumer Resp
Senior Advisor, EEO Data and Programs
Supervisory IT Specialist (DATAMGMT)
Supervisory Government Info Specialist
Attorney-Adviser (General)
Events Management Specialist
Senior Product Mgmt Specialist
Supervisory Attorney Advisor
Supervisory Attorney Advisor
Project Manager
Paralegal Specialist
CFP Analyst (Regulations)
Management and Program Analyst
Attorney-Adviser (General)
Attorney-Adviser (General)
Economist
Economist
Economist
Economist
Economist
Events Management Specialist
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Paralegal Specialist
Supervisory Economist
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Administrative Officer
Examiner
Examiner
Examiner
Examiner
Commissioned Compliance Examiner
Administrative Operations Assistant
Stakeholder Support Team Lead
Examiner
Supervisory Administrative Officer
Examiner
Management and Program Analyst
Management and Program Analyst
Supervisory Examiner, Field Manager
Project Delivery Manager
Operations Analyst
Supervisory Budget Analyst
Consumer Financial Protection Analyst
Consumer Financial Protection Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Executive Assistant
Events Management Specialist
Management and Program Analyst
Management and Program Analyst
Management and Program Analyst
Data Quality Analyst
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Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Attorney-Adviser (General)
Deputy Assistant Director, OMWI
Management and Program Analyst
Director, Travel and Relocation
Senior Reporting Analyst
Paralegal Specialist
Business Process Analyst
Senior Advisor to the Assoc Dir, RMR
Director Regional Examining
Director Regional Examining
Examiner
Examiner
Examiner
Examiner
Examiner
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Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Examiner
Data Management Business Architect
Senior Congressional Liaison
Attorney-Adviser
Attorney-Adviser
HR Specialist (Staffing Spec)
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HR Specialist (Staffing Spec)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Attorney Advisor (Enforcement Attorney)
Compliance Analyst
Interdisciplinary Research Psychologist
Attorney-Advisor
Attorney-Advisor
Attorney-Advisor
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
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Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
Attorney-Advisor
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Economist
Economist
Interdisciplinary Social Scientist
Paralegal Specialist
Paralegal Specialist
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Paralegal Specialist
CFP Analyst (Enforcement)
Attorney-Adviser (General)
Attorney-Advisor
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Advisor
Attorney-Advisor
Attorney-Advisor
Attorney-Advisor
Attorney-Advisor
Attorney Advisor(Enforcement Attorney)
Interdisciplinary Economist
Interdisciplinary Economist
Consumer Fin. Protn. Analyst (Enforce)
Consumer Fin. Protn. Analyst (Enforce)
Consumer Fin. Protn. Analyst (Enforce)
Consumer Fin. Protn. Analyst (Enforce)
Supervisory Economist
Paralegal Specialist
Paralegal Specialist
Management and Program Analyst
Management and Program Analyst
Economist
Economist
Senior Customer Experience Strategist
Senior Customer Experience Strategist
Senior Company Monitoring Analyst
Senior Advisor
Senior Advisor
Senior Advisor
Attorney-Advisor
Attorney-Advisor (General)
Senior Program Manager
Senior Content & Comm Analyst
Attorney-Advisor
Attorney-Advisor (General)
Attorney-Advisor (General)
Attorney-Advisor (General)
Attorney Advisor
Economist
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Operations Analyst
Economist
Economist
Senior Advisor to the CHCO
Supervisory HR Spec (Compensation)
Supvy HR Spec (Class Rec & Int Plmt)
Attorney Advisor(Enforcement Attorney)
Attorney-Adviser
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Supervisory Examiner, Field Manager
Con Resp Qual Assurance Anal (Invest)
Con Resp Qual Assurance Anal (Invest)
Con Resp Qual Assurance Anal (Invest)
Con Resp Qual Assurance Anal (Invest)
Con Resp Qual Assurance Anal (Invest)
Economist
Attorney-Advisor
Human Resources Specialist (Staffing)
Supervisory Examiner, Field Manager
Consumer Response Program Manager
Supervisory IT Specialist (DATAMGT)
Consumer Response Specialist (Investigations)
Supervisory IT Specialist (DATAMGT)
EEO Spec (Investigator)
Equal Employment Opp Specialist
IT Specialist (DATAMGT)
IT Specialist (DATAMGT)
HR Specialist (Staffing)
Program Analyst
Content and Communications Analyst
Management and Program Analyst
Consumer Response Spec (Investigation)
IT Specialist (PLCYPLN)
Commissioned Compliance Examiner
Consumer Response Spec (Sr Comp Anlst)
Financial Analyst
Supervisory IT Specialist DATAMGT)
Senior Program Manager (Markets)
Senior Program Manager (Markets)
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ACQUISITION PROGRAM ANALYST
Supervisory Examiner, Field Manager
Artificial Intelligence Prog. Manager
Supervisory IT Specialist (DATAMGT)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Consumer Response Spec (Sr Comp Anlst)
Attorney-Adviser
Diversity and Inclusion Program Analyst
Examiner
Attorney-Adviser (General)
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Examiner
Examiner
Attorney-Adviser (General)
Examiner
Examiner
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Attorney-Adviser (General)
Commissioned Compliance Examiner
Attorney-Adviser (General)
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Examiner
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Examiner
Attorney-Adviser (General)
Program Manager
Attorney-Adviser (General)
Attorney-Adviser (General)
HR Specialist (Employee Relations)
Supervisory Attorney-Adviser
Supervisory Attorney-Adviser
Supervisory Attorney-Adviser
Executive Assistant
Senior Program Manager (Markets)
Supervisory Attorney-Adviser
Senior Advisor (Markets)
Sec Chief, Cnsmr Crdt, Pmts & Dep
Attorney-Advisor (General)
Financial Analyst
Senior Advisor
Senior Advisor
Senior Program Manager (Markets)
Principal Asst Director, Consumer Ed
Examiner
Senior RAMPS Analyst
Attorney-Adviser (General)
Attorney-Adviser (General)
HR Specialist (Employee Relations)
Attorney-Adviser (General)
IT Specialist (DATAMGMT)
IT Specialist (DATAMGMT)
Attorney-Adviser (General)
IT Specialist
IT Specialist (Enterprise Architecture)
Mgmt & Program Analyst (Info Systems)
Mgmt & Program Analyst (Info Systems)
Mgmt & Program Analyst (Info Systems)
Mgmt & Program Analyst (Info Systems)
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Attorney-Adviser (General)
Mgmt & Program Analyst (Info Systems)
Senior Product Manager
Senior Older Americans Policy Analyst
Older Americans Sr Policy Analyst
Sen Content & Comms Analyst (Internal)
Consumer Response Manager
Consum Ed & Engag Acquis Prog Manag
Consumer Response Manager
Consumer Response Manager
Consumer Response Manager
Consumer Response Manager
Commissioned Compliance Examiner
Examiner
Digital Content Specialist
Examiner
Examiner
IT Specialist (Enterprise Architecture)
Research and Analysis Program Manager
IT Specialist (Policy & Planning)
Administrative Specialist (Docket Mgr)
Supervisory Administrative Officer
Project Delivery Manager
Complaint Sharing and Analysis Program Manager (Complaint Analytics)
Complaint Process Monitoring Manager
Business Manager
Business Manager
Youth Financial Education Program Analyst
Analysis and Operations Manager
Financial Education Program Analyst
Financial Education Program Analyst
Financial Education Program Analyst
Paralegal Specialist
Consumer Response Manager
Paralegal Specialist
Paralegal Specialist
Senior Program Manager
Sen Adv to Sec Chief of Investigations
Examiner
Financial Analyst
Sup Program Analyst (Procure&Budget)
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Economist
Economist
Economist
Program Manager
CFP Analyst (Registrations)
Industry Engmt. & Relationship Spec.
Outreach and Policy Advisor
HR Spec. (Policy and Accountability)
Industry Engmt. & Relationship Spec.
Examiner
Examiner
Examiner
Older Americans Policy Analyst
Examiner
Dpty Ast Drctr Offc for Oldr Americans
Attorney - Adviser (General)
Sup Attorney-Adviser (Gen)
Supervisory IT Specialist (PLCYPLN)
Interdisciplinary Economist
Management and Program Analyst
Senior Program Manager (Markets)
Senior Program Manager (Markets)
Supervisory Operations Analyst
Senior Program Manager (Markets)
Policy Analyst (Stakeholder Engage.)
Senior Program Manager (Markets)
Management and Program Analyst
Deputy Assistant Director
Management and Program Analyst
Management and Program Analyst
Attorney-Advisor
Innovation Program Manager
Content Strategist & Communications Specialist
Management and Program Analyst
Personnel Security Specialist
Consumer Reponse Process Analyst
Personnel Security Specialist
Physical Security Specialist
Sec Chief, Cnsmr Crdt, Pmts & Dep
Supervisory Attorney-Adviser
Supervisory Manag and Program Analyst
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Attorney-Adviser
Senior Program Manager
Attorney-Adviser
Senior Policy Analyst
Supervisory Attorney-Advisor (General)
Attorney-Adviser
Chf Comm Ofr & Ast Dir Off of Pub Affr
Outreach and Engagement Specialist
Attorney-Adviser
Attorney-Adviser
Executive Assistant
Attorney-Adviser
Supervisory Administrative Officer
Attorney-Adviser
Sr Advsr (Stkh Engmt and Relatsh Mgmt)
Attorney-Adviser
Senior Advisor
Attorney-Adviser
Supervisory Contract Specialist
Attorney-Adviser
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Advisor
Supervisory Examiner, Field Manager
Attorney-Advisor
Attorney-Adviser (General)
Program Director (Supervision Systems)
Attorney-Adviser (General)
Attorney-Advisor
Consumer Financial Protection Analyst
Prgm Director (Examination Oversight)
Lead Consumer Financial Protection Analyst
Attorney-Adviser
Attorney-Adviser
Supervisory Contract Specialist
Attorney-Adviser
Senior Contract Program Analyst
Senior Advisor
Attorney-Adviser
Attorney-Adviser
Attorney-Adviser
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Program Analyst
Contract Specialist
Contract Specialist
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Finance and Policy Analyst
Human Resources Specialist
Attorney-Advisor
Human Resources Specialist
Attorney-Advisor (General)
Senior Policy Analyst
Attorney-Adviser
Asst Dir, Ofc Fin Inst & Bus Liaison
Attorney-Adviser
Senior Advisor
Attorney-Adviser
IT Specialist (INFOSEC)
Attorney-Adviser
IT Specialist (INFOSEC)
Attorney-Adviser
IT Specialist (INFOSEC)
Attorney-Advisor (General)
Attorney-Adviser
Attorney-Advisor (General)
Attorney-Advisor (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Supvy HR Spec (Employee Relations)
Data Quality and Reporting Manager
Supervisory Attorney Advisor
Deputy General Counsel
Cons Resp Man (Plcy, Pro and Bus Proc)
Supervisory Attorney Advisor
Project Delivery Analyst
Complaint Analytics Analyst
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Product Program Specialist
Supervisory Attorney Adviser
Attorney-Adviser
Attorney-Adviser (General)
Attorney Advisor (Enforcement Attorney)
Supervisory Attorney Advisor
Data Reporting Program Manager
Portfolio Planning Manager
Supervisory Examiner, Field Manager
Supervisory Manag and Program Analyst
Section Chief of Stakeholder Services
Contact Center Program Manager
Contact Center Program Manager
Consumer Response Program Manager
Consumer Response Spec (Investigation)
Operations Specialist
Management and Program Analyst
Risk Monitoring Program Manager
IT Specialist (DATAMGT)
Asst Director, Office of Innovation
IT Specialist
Training Coordinator
Research Program Manager
Operations Analyst
Attorney-Adviser (General)
Supervisory Attorney Adviser
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser
Executive Assistant
Senior Procurement Analyst
Supervisory Attorney-Adviser
Program Dir, (Supv Learning & Devel)
Supervisory Attorney Adviser
Supervisory Contracting Officer's Rep
Supervisory Attorney Adviser
Examiner
Supervisory Contract Specialist
Supervisory Attorney Adviser
Senior Advisor
Supervisory Attorney Adviser
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Supervisory Attorney Adviser
Deputy Chief Operating Officer
Superviosry Attorney-Adviser
Supervisory Attorney Adviser
Supervisory Attorney-Adviser
Examiner
Administrative Operations Assistant
Supervisory Attorney Adviser
Snr Advisor, Advsy Brd & Cncl Section
Attorney-Adviser
Supervisory Attorney-Advisor (General)
Examiner
Supervisory Attorney-Advisor (General)
Consumer Financial Protection Analyst
Examiner
Examiner
Examiner
Executive Assistant
Examiner
Information Technology Specialist
Examiner
Examiner
Consumer Financial Protection Analyst
Project Delivery Analyst
Physical Security Specialist
IT Specialist (APPSW)
IT Specialist (APPSW)
Attorney-Adviser (General)
IT Specailist (Customer Support)
IT Specialist
Attorney-Advisor (General)
Data Scientist
Complaint Process Monitoring Spec.
Supervisory Attorney-Adviser
Financial Analyst
Attorney-Advisor (General)
Consumer Financial Protection Analyst
Economist (Interdisciplinary Research Analyst)
Supervisory Economist
Interdisciplinary Economist
Attorney Advisor(Enforcement Attorney)
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Interdisciplinary Economist
Economist
Economist
Interdisciplinary Statistician
IT Specialist (INET)
Examiner
Economist
Attorney-Advisor (General)
Attorney-Advisor (General)
IT Specialist (DATAMGT)
Economist
Management and Program Analyst
Examiner
Attorney-Adviser (General)
Management & Program Analyst
IT Specialist (APPSW)
Examiner
Examiner
Examiner
Examiner
IT Specialist (DATAMGT)
Management and Program Analyst
Senior Program Manager (Markets)
Attorney Advsr (Enforcement Attorney)
Attorney Advisor(Enforcement Attorney)
Examiner
Economist
Economist
Financial Analyst
Financial Analyst
Com Affairs Program Spec
Operations Analyst
Examiner
IT Specialist
Consumer Financial Protection Analyst
Economist
Attorney-Adviser (General)
Attorney Advisor (Enforcement Attorney)
Attorney-Adviser (General)
Attorney-Adviser (General)
IT Specialist
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Associate Ombudsman
Attorney-Advisor
Mgmt. & Prog. Analyst (Enforcement)
Attorney-Advisor (General)
Examiner
Senior Learning Specialist
Data Scientist
Attorney-Adviser (General)
Attorney-Adviser (General)
Attorney-Adviser (General)
Data Scientist
Data Scientist
Data Scientist
IT Specialist (DATAMGT)
Attorney Advisor(Enforcement Attorney)
Attorney Advisor(Enforcement Attorney)
Attorney Advisor(Enforcement Attorney)
Attorney Advsr (Enforcement Attorney)
Interdisciplinary Economist
Supervisory IT Specialist
Financial Analyst
Attorney Advisor (Enforcement Attorney)
Senior Program Manager (Markets)
Management & Program Analyst
Financial Analyst (Fellow)
Paralegal Specialist
Small Bus. Lndng Vendor Outreach Coord
Business Process Analyst
Financial Analyst (Fellow)
IT Specialist (APPSW)
IT Specialist (Policy and Planning)
Paralegal Specialist
Paralegal Specialist
Economist
IT Specialist (Policy and Planning)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
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Financial Analyst (Fellow)
Financial Analyst (Fellow)
Markets & Policy Fellow (Analyst)
Financial Analyst (Fellow)
Consultant (Compensation Advisor)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Statistician
Economist
Economist
Attorney-Advisor (General)
IT Specialist (Policy and Planning)
IT Specialist (Policy and Planning)
Financial Analyst (Fellow)
Financial and Program Analyst (Fellow)
Attorney-Advisor (General)
Financial Analyst
Engagement & Policy Fellow (Pgrm Mgr)
Engagement & Policy Fellow (Pgrm Mgr)
Engagement & Policy Fellow (Pgrm Mgr)
Senior Research Fellow
Senior Research Fellow
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Paralegal Specialist
Mathematician
Sm Bus Lending Data Coll Bus Prod Lead
IT Specialist (INFOSEC)
HR Spcec (Stfng/Recruitmt & Class.)
IT Specialist (Policy and Planning)
IT Specialist (Policy and Planning)
Administrative Specialist
Financial and Program Analyst (Fellow)
Financial and Program Analyst (Fellow)
Attorney-Advisor (General)
IT Specialist (Policy and Planning)
Markets & Policy Fellow (Prog Manager)
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Management and Program Analyst
Senior Markets & Policy Fellow
Senior Engagement & Policy Fellow
Senior Engagement & Policy Fellow
Economist
Senior Engagement & Policy Fellow
Economist
Financial Analyst (Fellow)
Financial and Program Analyst (Fellow)
IT Specialist (Policy and Planning)
Economist
Engagement and Strategy Program Mgr
Markets & Policy Fellow (Prog Manager)
Markets & Policy Fellow (Prog Manager)
Senior Engagement & Policy Fellow
OFLEO Policy Advisor
Economist
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Engagement & Policy Fellow (Analyst)
Financial Analyst (Fellow)
Financial and Program Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Economist
Senior Engagement & Policy Fellow
Student Trainee (Program Assistant)
IT Specialist (Policy and Planning)
Student Trainee (Program Assistant)
Student Trainee (Admin & Ofc Support)
Emp Comm & Change Mgmt Specialist
IT Specialist (DATAMGT)
Examiner
Supervisory Economist
Data Scientist
Paralegal Specialist
Data Scientist
Attorney-Advisor
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Examiner
Financial and Program Analyst (Fellow)
Financial Analyst (Fellow)
Financial Analyst (Fellow)
Financial and Program Analyst (Fellow)
Student Trainee (Program Assistant)
Supervisory Attorney Adviser
Attorney-Advisor (General)
Supervisory Attorney-Adviser
Supervisory Attorney-Adviser
Supervisory Attorney-Advisor (General)
Sup Attorney-Adviser (Gen)
Supervisory Attorney-Adviser (General)
Attorney-Adviser (General)
Financial Analyst
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Retain/Release Scenario                                             Onboard Count - PP6 FY25

                  Division/Office              Sum of    Sum of                       Division/Office             Sum of
                                              Number to Number to                                                Number on
                                               Retain    Release                                                    PD
 CFPB CENTRALIZED SERVICES                          0       5        CFPB CENTRALIZED SERVICES                       5
   CFPB CENTRALIZED SERVICES-HUMAN CAPITAL          0       5          CFPB CENTRALIZED SERVICES-HUMAN CAPITAL       5
 CONSUMER RESPONSE EDUCATION DIV                   20      129       CONSUMER RESPONSE EDUCATION DIV                149
   CONSUMER RESPONSE                               16      112         CONSUMER RESPONSE                            128
   CONSUMER RESPONSE EDUCATION DIV                  2       6          CONSUMER RESPONSE EDUCATION DIV               8
   FINANCIAL EDUCATION                              2      11          FINANCIAL EDUCATION                           13
 DIRECTOR                                           5      81        DIRECTOR                                        86
   Legislative Affairs                              1       2          Legislative Affairs                           3
   Off of Policy Planning & Strategy                0      16          Off of Policy Planning & Strategy             16
   Office of Civil Rights                           1       8          Office of Civil Rights                        9
   Office of Fair Lending and Equal Opp             1      13          Office of Fair Lending and Equal Opp          14
   Office of Minority and Women Incl                1      13          Office of Minority and Women Incl             14
   OFFICE OF THE DIRECTOR                           1      29          OFFICE OF THE DIRECTOR                        30
 DIVISION OF ENFORCEMENT                           50      198       DIVISION OF ENFORCEMENT                        248
   DIVISION OF ENFORCEMENT                         50      198         DIVISION OF ENFORCEMENT                      248
 DIVISION OF SUPERVISION                           50      437       DIVISION OF SUPERVISION                        487
   DIVISION OF SUPERVISION                          0       2          DIVISION OF SUPERVISION                       2
   OFFICE OF SUPV POLICY AND OPS                    1      108         OFFICE OF SUPV POLICY AND OPS                109
   SUPERVISION EXAMINATIONS                         1       0          SUPERVISION EXAMINATIONS                      1
   SUPERVISION MIDWEST REGION                       0      89          SUPERVISION MIDWEST REGION                    89
   SUPERVISION NORTHEAST REGION                     0      95          SUPERVISION NORTHEAST REGION                  95
   SUPERVISION SOUTHEAST REGION                    48      61          SUPERVISION SOUTHEAST REGION                 109
   SUPERVISION WEST REGION                          0      82          SUPERVISION WEST REGION                       82
 EXTERNAL AFFAIRS DIVISION                          2      39        EXTERNAL AFFAIRS DIVISION                       41
   COMMUNICATIONS                                   0      11          COMMUNICATIONS                                11
   EXTERNAL AFFAIRS DIVISION                        0      13          EXTERNAL AFFAIRS DIVISION                     13
   INTERGOVERNMENTAL AFFAIRS                        0       5          INTERGOVERNMENTAL AFFAIRS                     5
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    PRIVATE SECTOR ENGAGEMENT                    1       4          PRIVATE SECTOR ENGAGEMENT                  5
    PUBLIC ENGAGEMENT                            1       6          PUBLIC ENGAGEMENT                          7
  LEGAL DIVISION                                27      60        LEGAL DIVISION                               87
    GENERAL LAW AND ETHICS                       4      25          GENERAL LAW AND ETHICS                     29
    LAW AND POLICY                               8      22          LAW AND POLICY                             30
    LEGAL DIVISION                               0      12          LEGAL DIVISION                             12
    LITIGATION                                  14       0          LITIGATION                                 14
    OVERSIGHT                                    1       1          OVERSIGHT                                  2
  OPERATIONS DIVISION                           30      293       OPERATIONS DIVISION                         323
    ADMINISTRATIVE OPERATIONS                    5      28          ADMINISTRATIVE OPERATIONS                  33
    CHIEF DATA OFFICER                           0      10          CHIEF DATA OFFICER                         10
    FINANCE AND PROCUREMENT                      5      48          FINANCE AND PROCUREMENT                    53
    HUMAN CAPITAL                                5      56          HUMAN CAPITAL                              61
    OPERATIONS DIVISION                          1       8          OPERATIONS DIVISION                        9
    TECHNOLOGY AND INNOVATION                   14      143         TECHNOLOGY AND INNOVATION                 157
  OTHER PROGRAMS                                 1      33        OTHER PROGRAMS                               34
    DIRECTOR'S FINANCIAL ANALYSTS                0      29          DIRECTOR'S FINANCIAL ANALYSTS              29
    OMBUDSMAN                                    1       4          OMBUDSMAN                                  5
  RESEARCH MONITORING AND REGULATIONS DIV       22      208       RESEARCH MONITORING AND REGULATIONS DIV     230
    Competition and Innovation                   0       9          Competition and Innovation                 9
    CONSUMER POPULATIONS                         3      42          CONSUMER POPULATIONS                       45
    MARKETS                                      4      36          MARKETS                                    40
    REGULATIONS                                 10      56          REGULATIONS                                66
    RESEARCH                                     3      55          RESEARCH                                   58
    RESEARCH MONITORING AND REGULATIONS DIV      2      10          RESEARCH MONITORING AND REGULATIONS DIV    12
Grand Total                                     207    1483     Grand Total                                   1690
